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                               EXHIBIT 314
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                                    UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION

 IN RE NATIONAL PRESCRIPTION                                  MDL 2804
 OPIATE LITIGATION                                            Case No. 17-md-2804
 This document relates to:                                    Hon. Dan Aaron Polster
 Track One Cases

         PLAINTIFFS’ RESPONSES TO THE AMENDED AND CLARIFIED
 DISCOVERY RULING 12 SUPPLEMENTAL INTERROGATORY ISSUED TO PLAINTIFFS
 Discovery Ruling 7 Reformulation of Pharmacy Interrogatory No. 7 and Distributor
 Interrogatory No. 23:

          Identify each Suspicious Order for Prescription Opioids that you contend was shipped to Your geographic area
          by any National Retail Pharmacy Defendant or Distributor Defendant during the Relevant Time Period.
          For each order, identify the date the order was shipped, the manufactureri, name, and amount of the
          medication that was shipped, the name of the defendant that shipped the order, and the name and location of
          the person or entity that placed the order. Furthermore, explain the criteria you used to identify these
          Suspicious Orders.

 Discovery Ruling 12 Supplemental Interrogatory:

          For each National Retail Pharmacy Defendant and Distributor Defendant, identify 10 Suspicious Orders
          for Prescription Opioids that you contend were shipped to Your geographic area during the Relevant Time
          Period. For each order, identify the date the order was shipped, the manufactureri, name, and amount of the
          medication that was shipped, the name of the defendant that shipped the order, and the name and location of
          the person or entity that placed the order. Furthermore, explain in detail all criteria you used to identify these
          Suspicious Orders, including whether and why you contend (i) any due diligence actually conducted was
          insufficient, and (ii) the order was so suspicious that there was no amount of due diligence that could have
          removed every basis to suspect the customer was engaged in diversion.

 January 18, 2019 Amendment to and Clarification of Supplemental Discovery Ruling 12
 Interrogatory:

          Plaintiffs must identify 10 suspicious orders from EACH jurisdiction in the Track One cases for each
          distributor & pharmacy defendant. This means at least 20 orders per defendant, since Cleveland is within
          Cuyahoga County and Akron is within Summit County; show how they used their Monthly Total Rule and
          Methods to identify the SOs listed in their response; and must also identify any other criteria they have used
          to identify these and other SOs; and should include a variety of recipient pharmacies and a variety of dates.

 Preliminary Objections and Legal Limitations
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          The Bellwether Plaintiffs here renew and incorporate by reference their objections and
 assertions of legal limitation set out in each Plaintiff’s Amended Responses and Objections to the
 National Retail Pharmacy Defendants’ First Set of Interrogatories and Distributor Defendants’
 Fourth Set of Interrogatories to Plaintiffs, Reformulated Pharmacy Interrogatory No. 7 and
 Distributor Interrogatory No. 23, served on October 31, 2018, specifically including the introductory
 paragraph to those objections and assertions of legal limitation and paragraphs 1 – 11 (with related
 charts), as well as all objections and assertions of legal limitation set out in Plaintiff’s Responses to
 Supplemental Discovery Ruling 12 Interrogatory, served on January 11, 2019, which the Bellwether
 Plaintiffs also assert here.

         The National Retail Pharmacy Defendants and/or Distributor Defendants (collectively
 “Distributor Defendants”) have refused to answer this very same discovery request, yet demand the
 Bellwether Plaintiffs do so without an adequate record and/or without the benefit of expert witness
 testimony. Nonetheless, the Bellwether Plaintiffs attempt to comply with the Court order in good
 faith.

         The reformulated discovery request is a contention interrogatory. “Contention”
 interrogatories seek to clarify the basis for or scope of an adversary's legal claims. Starcher v. Corr.
 Med. Sys., Inc., 144 F.3d 418, n.2 (6th Cir. 1998), aff'd sub nom. Cunningham v. Hamilton Cty., Ohio, 527
 U.S. 198 (1999). The answer to this contention interrogatory “does not limit [our] experts from
 using different criteria to identify suspicious orders, and therefore from concluding that there exist
 suspicious orders in addition to those identified [herein].” Discovery Ruling No. 7, p. 6.

         The Bellwether Plaintiffs reserve the right to supplement this answer if, or when, the
 Distributors fully and transparently respond to discovery. For the purposes of responding to this
 supplemental interrogatory, Plaintiffs have not attempted to identify every suspicious order, nor
 have Plaintiffs applied every reasonable method for identifying suspicious orders.

         The Bellwether Plaintiffs reserve the right to supplement this answer if, or when the
 Distributors disclose the system(s) the Distributors designed and operated sufficient to detect
 suspicious orders using Distributors’ own metrics.

        The Bellwether Plaintiffs reserve the right to supplement this answer through expert
 witnesses pursuant to the Scheduling Order entered by the Court.

          The Bellwether Plaintiffs contend that the Distributor Defendants shipped
 hydrocodone pills and                  oxycodone pills into Cuyahoga County between 2006 and 2014.
 The Bellwether Plaintiffs contend the Distributor Defendants shipped                  hydrocodone
 pills and              oxycodone pills into Summit County between 2006 and 2014. The bellwethers
 contend the sheer volume of opioid pills shipped is indicative the distributors failed to maintain
 “effective control against diversion of particular controlled substances into other than legitimate
 medical, scientific, and industrial channels.” 21 U.S.C.A. § 823(b)(1) [1970].

         The Bellwether Plaintiffs contend each Distributor owes a duty under federal law to
 maintain “effective control against diversion of particular controlled substances into other than
 legitimate medical, scientific, and industrial channels.” 21 U.S.C.A. § 823(b)(1) [1970]. This duty has
 been defined to include the following obligations:
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        The “security requirement” at the heart of this case mandates that distributors
        “design and operate a system” to identify “suspicious orders of controlled
        substances” and report those orders to DEA (the Reporting Requirement). 21 C.F.R.
        § 1301.74(b). The Reporting Requirement is a relatively modest one: It requires only
        that a distributor provide basic information about certain orders to DEA, so that
        DEA “investigators in the field” can aggregate reports from every point along the
        legally regulated supply chain and use the information to ferret out “potential illegal
        activity.” Southwood Pharm., Inc., 72 Fed. Reg. 36,487, 36,501 (Drug Enf't Admin.
        July 3, 2007). Once a distributor has reported a suspicious order, it must make one of
        two choices: decline to ship the order, or conduct some “due diligence” and—if it is
        able to determine that the order is not likely to be diverted into illegal channels—
        ship the order (the [No-]Shipping Requirement).

 Masters Pharm., Inc. v. Drug Enf't Admin., 861 F.3d 206, 212–13 (D.C. Cir. 2017) (emphasis added)
 (bracket inserted). The bellwethers served discovery upon the Distributors, asking the Distributors
 to identify the “system” each distributor “designed and operated” but were limited by the Court to a
 period of time beginning in 2006 and extending to the present. Discovery revealed each Distributor
 used a different “system” at different times. The Bellwether Plaintiffs have attempted to replicate
 Defendants’ “systems” in order to determine which orders should have been identified as suspicious
 thereby triggering the Reporting Requirement and the [No-] Shipping Requirement.

        Despite repeated motions to compel, limitations including, without limitation, the following
 remain and impede Bellwether Plaintiffs’ ability to fully respond to this request at this time:

        A. Post-Shipment Review Based on the DEA’s Chemical Handler’s Manual (2004) and/or
        the DEA’s Report to U.S. Attorney General by the Suspicious Order Task Force.

         Cardinal Health, and various other Distributor Defendants, adopted some form of a national
 average multiplier from the DEA’s Chemical Handler’s Manual (2004) and/or the DEA’s Report to
 U.S. Attorney General by the Suspicious Order Task Force (1998). Both provisions are nearly
 identical and arise out of the compliance requirements set forth in The Comprehensive
 Methamphetamine Control Act of 1996, 21 U.S. Code § 830 (“Each regulated person shall report to
 the Attorney General, in such form and manner as the Attorney General shall prescribe by
 regulation any regulated transaction involving an extraordinary quantity of a listed chemical, an
 uncommon method of payment or delivery, or any other circumstance that the regulated person
 believes may indicate that the listed chemical will be used in violation of this subchapter.”). To
 comply with federal law, each distributor tracks the sale of controlled substances and OTC
 medications which contain certain chemicals including those used to make methamphetamine. The total
 weight of such chemicals are added and then measured against a multiplier of a national average.
 Sales in excess of this “threshold” are then reported to the DEA after shipment.

         Cardinal Health and various other Distributor Defendants used this methodology to monitor
 sales of prescription opiates, including hydrocodone and oxycodone, between 2000 and 2008.
 Cardinal Health, for example, generated an “Ingredient Limit Report” based on a computer program
 which monitors customer-controlled substance purchases for a month and compares these
 purchases to predetermined averages or limits. However, the methodology for calculating the
 predetermined averages or limits has not been disclosed. Nor has any justification been proffered
 for Cardinal’s use of a 4x multiplier (higher than the multiplier used to detect “extraordinary
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 quantities” of methamphetamine chemicals). The Bellwether Plaintiffs contend that using a formula
 for detection of extraordinary quantities of chemicals used to make methamphetamine may not be
 appropriate to detect unusual orders of prescription opiate pills. Nonetheless, it is impossible to
 apply even this formula to the transactional data until Cardinal Health and others disclose the full set
 of underlying variables within each formula utilized by Defendants to detect suspicious orders of
 prescription opioids.

         The Bellwether Plaintiffs have attempted to replicate a national average multiplier using a
 factor of 3x (extraordinary) and 2x (more than unusual) premised upon a national average we
 calculated from the available ARCOS data. The bellwethers intend to supplement this response if,
 or when, the distributors disclose the actual variables historically applied over time.

        2. Test for Review of Individual Orders Pre-Shipment

          Cardinal Health and other Distributor Defendants also adopted some form of a metric
 which purported to monitor individual orders in real time which may be suspicious. For example,
 Cardinal Health adopted Policy No. DEA04.00 entitled Required Reports to DEA (effective from
 2000 to 2006) which established written criteria of what constitutes a suspicious order. The policy
 mandates: (i) the criteria must be reasonable and based upon customer purchasing patterns; (ii) each
 facility must adhere to the established criteria in monitoring orders; and (iii) monitoring system may
 be either computerized or manual. However, like all other Distributor Defendants, the written
 criteria, the metrics to identify purchasing patterns, and the full results of applications have all not
 yet been fully disclosed. Thus, it is presently impossible to apply each Distributor Defendants’
 actual criteria to its transactional data.

         By way of another example, McKesson Corporation adopted a policy (2000 through the end
 of 2006) which utilized a computer algorithm referenced as the “Drohan report” to detect individual
 suspicious orders. However, McKesson has failed to produce any evidence that such a system was
 in operation nor has it produced any work product generated from its system arising out of CT1.

         In the meantime, the Bellwether Plaintiffs have attempted to replicate “a” rule set forth in
 the Masters Pharm., Inc. v. Drug Enf't Admin., 861 F.3d 206 (D.C. Cir. 2017). In Masters
 Pharmaceutical, the United States Court of Appeals for the District of Columbia Circuit issued the
 following instructive analysis:

        More fundamentally, the key question in this case is not whether held orders
        qualified as “suspicious” under Masters' policies; the question is whether they
        qualified as “suspicious” under 21 C.F.R. § 1301.74(b). Thus, while Masters frames
        its challenge on this point in substantial-evidence terms, the relevant inquiry is more
        legal than factual: It asks how far the language of the regulation reaches. Undertaking
        that legal exercise, the Administrator reasonably determined that all held orders were
        “suspicious” within the meaning of the regulation. Section 1301.74(b) provides that
        “[s]uspicious orders include orders of unusual size, orders deviating substantially
        from a normal pattern, and orders of unusual frequency.” Apparently tracking that
        regulatory language, the Computer Program held an order if: (a) that order—
        combined with other orders placed in the same 30-day period—requested
        more doses of a controlled medication than the pharmacy had requested in
        any of the previous six calendar months; (b) the pharmacy ordered a controlled
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        medication more frequently in a 30-day period than it had in any of the previous six
        calendar months; or (c) the pharmacy's ordering pattern for a controlled medication
        deviated in some other notable way from its ordering pattern over the previous six
        months. As a matter of common sense and ordinary language, orders that deviate
        from a six-month trend are an “unusual” and not “normal” occurrence. It was
        therefore entirely reasonable for the Administrator to hold that orders held by the
        Computer Program met the regulatory definition of “suspicious orders” unless
        Masters' staff dispelled the suspicion.

 Masters Pharm., Inc. v. Drug Enf't Admin., 861 F.3d 206, 216–17 (D.C. Cir. 2017) (internal citations
 omitted) (emphasis added).

         The application of the Masters “common sense rule” is incomplete without the due diligence
 files. For instance, there is no dispute that each transaction reported in ARCOS was actually
 shipped regardless of whether it was initially flagged as suspicious. Therefore, flagged orders should
 have been “cleared” through due diligence in order to have been properly shipped. However,
 discovery has revealed no such due diligence. The failure to conduct due diligence renders each
 successive order suspicious. Therefore, the bellwether plaintiffs have applied the Masters “common
 sense rule” as if no due diligence was conducted.

        C. Caps on Daily Orders

        CARDINAL HEALTH (and perhaps others) implemented a cap on individual orders by
 posting a sign in the warehouse of a Dosage Limit Chart which blocks daily orders in excess of a
 dosage limit. The bellwether plaintiffs intend to disclose expert witness testimony which identifies
 each daily order which exceeded the vault cap.

        D. Thresholds or Ceilings

          McKesson and Distributor Defendants implemented thresholds or ceilings at various times
 which purportedly blocked all orders in excess of a predetermined volume until cleared by due
 diligence. These thresholds appear to have been exponentially increased over time without any
 justification in the record. The Bellwether Plaintiffs intend to apply the McKesson threshold across
 the entire industry as evidence of what a reasonably designed system should have identified as
 suspicious.

          The bellwether Plaintiffs have identified the suspicious orders identified in Exhibits A
 (Cuyahoga County) and B (Summit County) hereto as suspicious based on the unusual size of the
 order(s), the unusual frequency of the order(s), the variance of the order(s) from the usual pattern,
 and/or the shipment of the order(s) where the recipient pharmacy or the prescribing physician’s
 license had been revoked, as further explained in in Exhibits A and B. With regard to each
 identified order, either the order was so suspicious that no due diligence could have removed every
 basis to suspect the customer was engaged in diversion and/or Plaintiffs have been unable to
 identify sufficient due diligence conducted by the Defendant with respect to that order, as further
 explained in in Exhibits A and B.

        Subject to, and without waiving, those objections and assertions of legal limitation, the
 bellwether Plaintiffs state as follows:
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         ANSWER: In a good faith effort to meet their obligations and to comply with Discovery
 Ruling 12 as Amended, which directs that this supplemental interrogatory be responded to at this
 time, Plaintiffs respond with the suspicious orders, and information regarding the same, as set out in
 the documents attached hereto.

        The criteria utilized to identify these suspicious orders, as identified in the attached charts
 and documents, are as follows, calculated from the available ARCOS data:

 1.      “Two Times Rule” - (“Exceeding Threshold of Two Times the National Average): Any order(s) in
 a month such that the cumulative shipments in dosage units that month exceeds two times the national average
 shipments by the Defendant to all pharmacies to which it shipped the same month is considered suspicious.

 2.       “Three Times Rule” - (“Exceeding Threshold of Three Times the National Average): Any
 order(s) in a month such that the cumulative shipments in dosage units that month exceeds three times the
 national average shipments by the Defendant to all pharmacies to which it shipped the same month is
 considered suspicious.

 3.        “Common Sense Method Two” - (“Exceeding Threshold of Initial 6 Months and
 Assuming No Due Diligence”): Any order(s) in a month such that the cumulative shipments that
 month exceeds the largest monthly shipments in any of the initial six months of the applicable
 dataset is considered suspicious. Method 2 assumes such orders were cleared and shipped with no
 due diligence. The threshold does not increase beyond the largest monthly shipment during the
 initial six months because each and every order shipped thereafter in excess of the largest monthly
 shipments is considered unlawful.

 4.      “Common Sense Method Three” - (“Previous 6 Months Threshold is Triggered and
 Assuming No Due Diligence”): Once an order(s) in any month causes the cumulative shipments
 that month to exceed the largest monthly shipments in any of the previous six months all
 subsequent orders are considered suspicious. Method 3 assumes no due diligence on the first
 suspicious order(s) and as a result, each and every order shipped thereafter to that individual buyer is
 unlawful.

 5.      “McKesson 8000 Rule” - McKesson Corp. “designed and operated” a suspicious order
 monitoring system (SOMS) titled Lifestyle Drug Monitoring Program beginning which it
 represented to the United States Department of Justice was operational as of May 1, 2007, and held
 all orders of oxycodone in excess of 8,000 doses in a given month until due diligence was
 performed. Depo. Hartle (McKesson corporate designee) at p. 179-212, Exhibit 17 and 19. This
 methodology was applied to both oxycodone and hydrocodone.


 Dated: January 25, 2019

                                          Respectfully submitted:

                                          /s/ Peter J. Mougey
                                          Peter J. Mougey
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                                               LLP
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                                               Fax: 304-529-3284
                                               paul@greeneketchum.com
                                               Co-Lead Plaintiffs’ Counsel
 i Due to the limitations of the ARCOS database, Plaintiffs must substitute “labeler” for “manufacturer” in their

 response. Labeler information was derived using the National Drug Code Number assigned to the product under the
 National Drug Code System of the Food and Drug Administration code for each drug and cross referencing against
 the Food and Drug Administration, National Drug Code Directory and list of NDC/NHRIC Labeler Codes.
 A list of NDC/NHRIC Labeler Codes is available at:
 https://www.fda.gov/ForIndustry/DataStandards/StructuredProductLabeling/ucm191017 htm.
 Food and Drug Administration, National Drug Code Directory available at:
 https://www.deadiversion.usdoj.gov/arcos/ndc/ndcfile.txt
 https://www.deadiversion.usdoj.gov/arcos/ndc/readme.txt
 Additionally, the ARCOS Registrant Handbook provides the following definitions relating to labeler: A
 packer/repacker is a registrant that packs a product into a container (i.e., packer) or repacks a product into different
 size containers, such as changing a package of 50 capsules to 5 packages of 10 capsules each. A labeler/relabeler is a
 registrant that affixes the original label to a product (i.e., labeler) or changes in any way the labeling on a product
 without affecting the product or its container (i.e, relabeler). The “relabel” term implies that the package size
 remains unchanged with changes being made only in brand name, NDC number, distributor, etc.
 Registrant Handbook at 6-2, available at:
 https://www.deadiversion.usdoj.gov/arcos/handbook/full.pdf#search=arcos%20handbook.
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            Exhibit A
        (Cuyahoga County)
                                                                                     Case:
                                                                      Narrative Response         1:17-md-02804-DAP
                                                                                         - Plaintiffs contend that the following orders, Doc    #: distributed
                                                                                                                                         which were 1964-102         Filed: 07/23/19
                                                                                                                                                               by AmerisourceBergen              10
                                                                                                                                                                                    Drug constitute    of 38.Orders
                                                                                                                                                                                                    Suspicious  PageID         #: 166834
                                                                                                                                                                                                                    as defined under 21 C F R § 1301 74(b):

                                                                                                                                                                                                                             Total Base Code Dosage
                                                                                                                                                                                                                               Units Distributed by
Suspicious                   Buyer DEA   Name, Address, and Store Number of                                                                                                                                                                                                                        Meets Common Sense   Meets Common Sense
               Distributor                                                    Base Code   NDC Code    Date of Order       Product Name    Dosage Strength Dosage Units         Labeler*         Due Diligence Performed Y/N AmerisourceBergen Drug to    Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                     Number                   Buyer                                                                                                                                                                                                                                             Method 2             Method 3
                                                                                                                                                                                                                             this location in month of
                                                                                                                                                                                                                                        order

                                          HEALTHSPAN INTEGRATED
                                                                                                                         HYDROCODONE
             LOCKBOURNE,                  CARE (5420 LANCASTER DR.,                                                                                                                                         N
    1                        BK8461876                                          9193      406035705     3/23/09       BIT/ACETAMINOPHEN         5           18,000          SpecGx LLC                                                85,100                     x                    x                    x                    x                    x
                 OH                        BROOKLYN HEIGHTS, OH,
                                                                                                                            5MG/50
                                                    44131)

                                          HEALTHSPAN INTEGRATED                                                           OXYCODONE
             LOCKBOURNE,                                                                                                                                                                                    N
    2                        BK1027134     CARE (12301 SNOW ROAD,               9143      406051201     9/30/10       HCL/ACETAMINOPHEN         5            6,000          SpecGx LLC                                                80,700                     x                    x                    x                    x                    x
                 OH
                                              PARMA, OH, 44130)                                                            5MG/325M

                                         CLARK LOWCOST PHARMACY                                                           OXYCODONE
             LOCKBOURNE,                                                                                                                                                                                    N
    3                        FC1748788       (3107 CLARK AVE,                   9143      406052301     3/8/12        HCL/ACETAMINOPHEN        10            3,600          SpecGx LLC                                                46,000                     x                    x                    x                    x                    x
                 OH
                                           CLEVELAND, OH, 44109)                                                           10MG/325

                                                                                                                          OXYCODONE
             LOCKBOURNE,                 PHARMERICA (24165 DETROIT                                                                                                                                          N
    4                        BP5756323                                          9143      406051205    12/11/13       HCL/ACETAMINOPHEN         5            9,000          SpecGx LLC                                                44,400                     x                    x                    x                    x                    x
                 OH                      ROAD, WESTLAKE, OH, 44145)
                                                                                                                           5MG/325M

                                          VALUECARE PHARMACY, LLC                                                         OXYCODONE
             LOCKBOURNE,                                                                                                                                                                                    N
    5                        FV0179110   (6611 WEST SNOWVILLE ROAD,             9143      406051205     3/30/09       HCL/ACETAMINOPHEN         5            6,000          SpecGx LLC                                                39,500                     x                    x                    x                    x                    x
                 OH
                                            BRECKSVILLE, OH, 44141)                                                        5MG/325M

                                             WALGREEN CO. DBA:
                                                                                                                          OXYCODONE
             LOCKBOURNE,                   WALGREENS # 03310 (16803                                                                                                                                         N
    6                        BW4147307                                          9143      228298150    12/26/14       HCL/ACETAMINOPHEN         5            4,500       Actavis Pharma, Inc.                                         36,500                     x                    x                    x                    x                    x
                 OH                      LORAIN AVE, CLEVELAND, OH,
                                                                                                                           5MG/325M
                                                   44111)
                                            WALGREEN CO. DBA:
                                                                                                                          OXYCODONE
             LOCKBOURNE,                   WALGREENS # 12444 (3415                                                                                                                                          N
    7                        BW4096360                                          9143      228298150    10/29/14       HCL/ACETAMINOPHEN         5            2,000       Actavis Pharma, Inc.                                         31,200                     x                    x                    x                    x                    x
                 OH                      CLARK AVENUE, CLEVELAND,
                                                                                                                           5MG/325M
                                                 OH, 44109)
                                            WALGREEN CO. DBA:
                                                                                                                          OXYCODONE
             LOCKBOURNE,                  WALGREENS # 05206 (11701                                                                                                                                          N
    8                        BW6704185                                          9143      228298150    12/29/14       HCL/ACETAMINOPHEN         5            2,000       Actavis Pharma, Inc.                                         31,200                     x                    x                    x                    x                    x
                 OH                       DETROIT AVE, LAKEWOOD,
                                                                                                                           5MG/325M
                                                 OH, 44107)
                                          BOLWELL HEALTH CENTER
                                                                                                                          OXYCODONE
             LOCKBOURNE,                 PHCY C/O MARJORIE BARRON                                                                                                                                           N
    9                        BB2466642                                          9143      406051205     8/26/14       HCL/ACETAMINOPHEN         5            3,000          SpecGx LLC                                                30,800                     x                    x                    x                    x                    x
                 OH                      (UNIV HOSPS OF CLEVELAND,
                                                                                                                           5MG/325M
                                            CLEVELAND, OH, 44106)
                                          HEALTHSPAN INTEGRATED
                                                                                                                          OXYCODONE
             LOCKBOURNE,                 CARE (10 SEVERANCE CIRCLE,                                                                                                                                         N
   10                        BK6113055                                          9143      406051205     1/20/14       HCL/ACETAMINOPHEN         5           18,000          SpecGx LLC                                                29,600                     x                    x                    x                    x                    x
                 OH                       CLEVELAND HEIGHTS, OH,
                                                                                                                           5MG/325M
                                                    44118)




                                                                                                                                                                                                                                                                                                        Exhibit A (Cuyahoga) - Page 1
                                                                                    Case:- 1:17-md-02804-DAP
                                                                          Narrative Response                                        Docwhich
                                                                                             Plaintiffs contend that the following orders, #: 1964-102          Filed:
                                                                                                                                              were distributed by Anda, Inc07/23/19         11 of
                                                                                                                                                                            constitute Suspicious    38.as defined
                                                                                                                                                                                                  Orders    PageID        #:C 166835
                                                                                                                                                                                                                   under 21   F R § 1301 74(b):


                                                                                                                                                                                                                     Total Base Code Dosage
Suspicious                  Buyer DEA    Name, Address, and Store Number of                                                                                                                           Due Diligence Units Distributed by Anda,                                               Meets Common Sense   Meets Common Sense
              Distributor                                                     Base Code    NDC Code     Date of Order        Product Name      Dosage Strength Dosage Units         Labeler*                                                       Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                    Number                    Buyer                                                                                                                                         Performed Y/N Inc to this location in month                                                   Method 2             Method 3
                                                                                                                                                                                                                              of order


                                        REMEDI SENIORCARE OF OHIO-
                                                                                                                             OXYCODONE
                                           NORTHEAST, LLC (26251
    1        WESTON, FL     FR3437856                                           9143       406051205      1/8/14         HCL/ACETAMINOPHEN           5           49,500          SpecGx LLC                N                   91,700                      x                    x                    x                    x                    x
                                         BLUESTONE BLVD., SUITE #1,
                                                                                                                              5MG/325M
                                             EUCLID, OH, 44132)

                                         PRIJATEL'S PHARMACY (6718 ST                                                        OXYCODONE
             GROVEPORT,
    2                       AP1673664     CLAIR AVE, CLEVELAND, OH,             9143       406051205      6/28/08        HCL/ACETAMINOPHEN           5            2,500          SpecGx LLC                N                    8,000                      x                                         x                    x
                OH
                                                     44103)                                                                   5MG/325M

                                          DISCOUNT DRUG MART INC #5                                                          OXYCODONE
             GROVEPORT,
    3                       AD6388032   (15412 DETROIT AVE, LAKEWOOD,           9143       591074905     10/27/11          HYDROCHLORIDE             5            1,000       Actavis Pharma, Inc.         N                    7,600                      x                                         x                    x
                OH
                                                   OH, 44107)                                                               5MG&ACETAMIN

                                        BOLWELL HEALTH CENTER PHCY
                                         C/O MARJORIE BARRON (UNIV                                                      HYDROCODONE.BITARTRA                                       Amneal
    4        WESTON, FL     BB2466642                                           9193      53746011805     4/11/07                                   7.5           1,500                                    N                    7,000                                                                x                    x
                                            HOSPS OF CLEVELAND,                                                            TE 7.5MG/APAP 75                                   Pharmaceuticals LLC
                                            CLEVELAND, OH, 44106)

                                         OHLIGER DRUG OF FAIRVIEW                                                            OXYCODONE
             GROVEPORT,                                                                                                                                                            Amneal
    5                       AO2914085     PARK (21720 LORAIN ROAD,              9143      53746020301     4/29/08        HCL/ACETAMINOPHEN           5            1,000                                    N                    6,700                      x                                         x                    x
                OH                                                                                                                                                            Pharmaceuticals LLC
                                          FAIRVIEW PARK, OH, 44126)                                                           TABS 5MG

                                        GIANT EAGLE PHARMACY #0204
             GROVEPORT,                                                                                                   HYDROCODONE BIT
    6                       BG7006782   (6000 ROYALTON ROAD, NORTH              9193       591034905      4/3/12                                     5            4,000       Actavis Pharma, Inc.         N                    4,200                      x                    x                    x                    x
                OH                                                                                                      5MG/ACETAMINOPHEN 50
                                             ROYALTON, OH, 44133)

                                         GIANT EAGLE PHARMACY #0465
                                                                                                                          HYDROCODONE BIT
    7        WESTON, FL     BG6266313   (14650 SNOW ROAD, BROOKPARK,            9193       591034905     11/21/13                                    5            1,000       Actavis Pharma, Inc.         N                    3,500                      x                                         x                    x
                                                                                                                        5MG/ACETAMINOPHEN 50
                                                   OH, 44142)

                                          DAVE'S SUPERMARKETS (3565
                                                                                                                        HYDROCODONE.BITARTRA                                       Amneal
    8        WESTON, FL     BD3823362    RIDGE ROAD, CLEVELAND, OH,             9193      53746011805    10/26/07                                   7.5            500                                     N                    2,600                                                                x                    x
                                                                                                                           TE 7.5MG/APAP 75                                   Pharmaceuticals LLC
                                                    44102)

                                         GIANT EAGLE PHARMACY #1298
                                                                                                                          HYDROCODONE BIT
    9        WESTON, FL     BG6010300   (13820 LORIAN AVE, CLEVELAND,           9193       591034905     12/10/08                                    5            1,000       Actavis Pharma, Inc.         N                    2,200                                                                x                    x
                                                                                                                        5MG/ACETAMINOPHEN 50
                                                   OH, 44111)

                                        THE MEDICAL SERVICE COMPANY
             GROVEPORT,                  COMPLIANCE MANAGER (24000                                                      OXYCODONE HCI 20 MG
   10                       AT7232022                                           9143      10702005701    11/12/09                                   20            1,000         KVK-Tech, Inc.             N                    2,000                                                                x                    x
                OH                        BROADWAY AVE, OAKWOOD                                                             TABLETS USP
                                              VILLAGE, OH, 44146)




                                                                                                                                                                                                                                                                                                     Exhibit A (Cuyahoga) - Page 2
                                                                                    Case:
                                                                       Narrative Response      1:17-md-02804-DAP
                                                                                          - Plaintiffs                                Doc
                                                                                                       contend that the following orders,     #:were
                                                                                                                                          which   1964-102           Filed:Health
                                                                                                                                                     distributed by Cardinal  07/23/19         12 ofOrders
                                                                                                                                                                                  constitute Suspicious 38. asPageID
                                                                                                                                                                                                               defined under#:
                                                                                                                                                                                                                             21166836
                                                                                                                                                                                                                               C F R § 1301 74(b):


                                                                                                                                                                                                                    Total Base Code Dosage
Suspicious                  Buyer DEA    Name, Address, and Store Number of                                                                                                                        Due Diligence      Units Distributed by                                                Meets Common Sense   Meets Common Sense
              Distributor                                                     Base Code   NDC Code     Date of Order       Product Name       Dosage Strength Dosage Units        Labeler*                                                      Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                    Number                    Buyer                                                                                                                                      Performed Y/N      Cardinal Health to this                                                    Method 2             Method 3
                                                                                                                                                                                                                   location in month of order


                                          OHIO CVS STORES, L.L.C. DBA:
                                                                                                                           OXYCODONE
             WHEELING,                    CVS/PHARMACY # 03322 (2007
    1                       AR7531418                                           9143      406051201      10/29/12      HCL/ACETAMINOPHEN            5            3,600         SpecGx LLC               N                   61,400                      x                    x                    x                    x                    x
                WV                      BROOKPARK ROAD, CLEVELAND,
                                                                                                                            5MG/325M
                                                  OH, 44109)

                                          HILLCREST ATRIUM PHARMACY                                                         ROXICET -                                           West-Ward
             WHEELING,
    2                       BH4711481   (6770 MAYFIELD ROAD, MAYFIELD           9143       54465029      7/26/06        OXYCODONE.HCL &             5           28,000        Pharmaceuticals           N                   36,800                      x                    x                    x                    x                    x
                WV
                                                 HTS, OH, 44124)                                                           ACETA 5MG/                                             Corp.

                                          OHIO CVS STORES, L.L.C. DBA:
                                                                                                                           OXYCODONE
             WHEELING,                    CVS/PHARMACY # 04803 (8000
    3                       BR3522009                                           9143      406051201      7/31/09       HCL/ACETAMINOPHEN            5            2,400         SpecGx LLC               N                   36,600                      x                    x                    x                    x                    x
                WV                       EUCLID AVE., CLEVELAND, OH,
                                                                                                                            5MG/325M
                                                     44103)

                                                                                                                          HYDROCODONE
             WHEELING,                   PHARMED INC DBA (PHARMED
    4                       AP4581155                                           9193      406035705      8/16/06       BIT/ACETAMINOPHEN            5           30,000         SpecGx LLC               N                   34,000                      x                    x                    x                    x                    x
                WV                      PHARMACY, WESTLAKE, OH, 44145)
                                                                                                                             5MG/50



    5



                                            MARC'S PHARMACY (7359
             WHEELING,
    6                       BM1143015   NORTHCLIFF AVENUE, BROOKLYN,            9193      603388332      7/25/06       HYDROCOD.BIT 7.5 TAB        7.5           9,000       Par Pharmaceutical         N                   31,800                      x                    x                    x                    x                    x
                WV
                                                  OH, 44144)

                                        PHARMACY MANAGEMENT GROUP                                                          OXYCODONE
             WHEELING,
    7                       BP7169015    OF (OHIO, INC., WESTLAKE, OH,          9143      406051201      10/27/11      HCL/ACETAMINOPHEN            5            2,400         SpecGx LLC               N                   31,400                      x                    x                    x                    x                    x
                WV
                                                     44145)                                                                 5MG/325M

                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                           OXYCODONE
             WHEELING,                   CVS/PHARMACY # 04338 (10022
    8                       AR7855779                                           9143      406051201      2/17/11       HCL/ACETAMINOPHEN            5            6,000         SpecGx LLC               N                   29,200                      x                    x                    x                    x                    x
                WV                      MADISON AVENUE, CLEVELAND,
                                                                                                                            5MG/325M
                                                 OH, 44102)




                                                                                                                                                                                                                                                                                                   Exhibit A (Cuyahoga) - Page 3
                                                                              NarrativeCase:
                                                                                        Response 1:17-md-02804-DAP
                                                                                                 - Plaintiffs contend that the followingDoc
                                                                                                                                        orders, #: 1964-102
                                                                                                                                                which were distributedFiled:   07/23/19
                                                                                                                                                                      by CVS constitute         13
                                                                                                                                                                                        Suspicious   of 38.
                                                                                                                                                                                                   Orders         PageID
                                                                                                                                                                                                          as defined under 21 C#:
                                                                                                                                                                                                                                F R166837
                                                                                                                                                                                                                                    § 1301 74(b):


                                                                                                                                                                                                           Total Base Code Dosage
Suspicious                   Buyer DEA   Name, Address, and Store Number of                                                                                                                 Due Diligence Units Distributed by CVS                                                Meets Common Sense   Meets Common Sense
               Distributor                                                      Base Code    NDC Code     Date of Order       Product Name     Dosage Strength Dosage Units    Labeler*                                                 Meets 2 Times Rule   Meets 3 Times Rule                                           McKesson 8000 Rule
Order No.                     Number                   Buyer                                                                                                                               Performed Y/N to this location in month of                                                   Method 2             Method 3
                                                                                                                                                                                                                     order


                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                             HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 03322 (2007
    1                        AR7531418                                            9193       406035705      10/27/09      BIT/ACETAMINOPHEN          5           13,500       SpecGx LLC         N                   67,000                     x                    x                    x                    x                  x
                  IN                         BROOKPARK ROAD,
                                                                                                                                5MG/50
                                           CLEVELAND, OH, 44109)
                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                             HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 03322 (2007
    2                        AR7531418                                            9193       406035705      6/23/09       BIT/ACETAMINOPHEN          5            5,000       SpecGx LLC         N                   49,700                     x                    x                    x                    x                  x
                  IN                         BROOKPARK ROAD,
                                                                                                                                5MG/50
                                           CLEVELAND, OH, 44109)
                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                             HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 04347 (11223
    3                        AR1404730                                            9193       406035705      5/22/09       BIT/ACETAMINOPHEN          5            3,000       SpecGx LLC         N                   28,400                     x                                         x                    x                  x
                  IN                       GRANGER RD., GARFIELD
                                                                                                                                5MG/50
                                             HEIGHTS, OH, 44125)
                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                             HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 03035 (212
    4                        AR6686301                                            9193       406035705      1/30/12       BIT/ACETAMINOPHEN          5            2,500       SpecGx LLC         N                   28,100                     x                                         x                    x                  x
                  IN                     WEST BAGLEY ROAD, BEREA,
                                                                                                                                5MG/50
                                                 OH, 44017)
                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                             HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 03035 (212
    5                        AR6686301                                            9193       406035705      9/29/09       BIT/ACETAMINOPHEN          5            6,000       SpecGx LLC         N                   28,000                     x                                         x                    x                  x
                  IN                     WEST BAGLEY ROAD, BEREA,
                                                                                                                                5MG/50
                                                 OH, 44017)
                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                             HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 03339 (23351
    6                        AR9581415                                            9193       406035705      10/26/09      BIT/ACETAMINOPHEN          5           10,000       SpecGx LLC         N                   26,300                                                               x                    x                  x
                  IN                        LORAIN ROAD, NORTH
                                                                                                                                5MG/50
                                            OLMSTEAD, OH, 44070)
                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                             HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 03338 (22001
    7                        AR7883449                                            9193       406035705      10/17/09      BIT/ACETAMINOPHEN          5            8,000       SpecGx LLC         N                   23,900                                                               x                    x                  x
                  IN                      LAKESHORE BLVD, EUCLID,
                                                                                                                                5MG/50
                                                 OH, 44123)
                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                             HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 03333 (3171
    8                        AR8556663                                            9193       406035705      10/21/09      BIT/ACETAMINOPHEN          5            5,500       SpecGx LLC         N                   22,200                                                               x                    x                  x
                  IN                     WEST BLVD., CLEVELAND, OH,
                                                                                                                                5MG/50
                                                    44111)
                                         OHIO CVS STORES, L.L.C. DBA:
             INDIANAPOLIS,               CVS/PHARMACY # 03333 (3171                                                       HYDROCODO.BIT/APAP
    9                        AR8556663                                            9193       406036005      7/30/08                                 7.5           2,000       SpecGx LLC         N                   21,900                     x                                         x                    x                  x
                  IN                     WEST BLVD., CLEVELAND, OH,                                                        7.5MG/750MG USP T
                                                    44111)
                                          OHIO CVS STORES, L.L.C. DBA:
                                                                                                                             HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 04300 (13777
   10                        AR6448888                                            9193       406035705      1/16/12       BIT/ACETAMINOPHEN          5            3,500       SpecGx LLC         N                   21,200                                                               x                    x                  x
                  IN                     PEARL RD., STRONGSVILLE, OH,
                                                                                                                                5MG/50
                                                     44136)




                                                                                                                                                                                                                                                                                              Exhibit A (Cuyahoga) - Page 4
                                                                               Case:
                                                               Narrative Response         1:17-md-02804-DAP
                                                                                  - Plaintiffs contend that the following orders,Doc
                                                                                                                                  which#: 1964-102
                                                                                                                                       were                 Filed:Drug
                                                                                                                                            distributed by Discount 07/23/19        14Suspicious
                                                                                                                                                                       Mart constitute  of 38.Orders
                                                                                                                                                                                                 PageID       #:under
                                                                                                                                                                                                     as defined   166838
                                                                                                                                                                                                                      21 C F R § 1301 74(b):


                                                                                                                                                                                                          Total Base Code Dosage
Suspicious                  Buyer DEA    Name, Address, and Store                                                                                                                        Due Diligence      Units Distributed by                                                Meets Common Sense   Meets Common Sense
              Distributor                                           Base Code    NDC Code    Date of Order        Product Name      Dosage Strength Dosage Units        Labeler*                                                      Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                    Number         Number of Buyer                                                                                                                             Performed Y/N    Discount Drug Mart to this                                                   Method 2             Method 3
                                                                                                                                                                                                         location in month of order


                                        DISCOUNT DRUG MART
                                                                                                                 HYDROCODONE
                                           (6476 YORK ROAD,
    1        MEDINA, OH     BD2308155                                 9193       603389032     9/25/14            BITARTRATE              5            3,000       Par Pharmaceutical         N                   49,120                                                                x                    x                    x
                                         PARMA HEIGHTS, OH,
                                                                                                                5MG/ACETAMINO
                                                  44130)
                                        DISCOUNT DRUG MART
                                                                                                                 HYDROCODONE
                                        #28 (8191 COLUMBIA RD,
    2        MEDINA, OH     BD0743016                                 9193       603389032     9/17/14            BITARTRATE              5           10,000       Par Pharmaceutical         N                   39,720                                                                x                    x                    x
                                         OLMSTED FALLS, OH,
                                                                                                                5MG/ACETAMINO
                                                 44138)
                                        DISCOUNT DRUG MART
                                                                                                                 HYDROCODONE
                                         INC #17 (4170 FULTON
    3        MEDINA, OH     AD8528121                                 9193       603389032     9/17/14            BITARTRATE              5            7,000       Par Pharmaceutical         N                   31,600                                                                x                    x                    x
                                        ROAD, CLEVELAND, OH,
                                                                                                                5MG/ACETAMINO
                                                 44144)
                                        DISCOUNT DRUG MART
                                                                                                                 HYDROCODONE
                                        INC #15 (17815 PURITAS
    4        MEDINA, OH     AD7412442                                 9193       603389032     9/29/14            BITARTRATE              5            4,000       Par Pharmaceutical         N                   31,100                                                                x                    x                    x
                                         AVENUE, CLEVELAND,
                                                                                                                5MG/ACETAMINO
                                              OH, 44135)
                                        DISCOUNT DRUG MART
                                                                                                                 HYDROCODONE
                                        INC #5 (15412 DETROIT
    5        MEDINA, OH     AD6388032                                 9193       603389032     9/16/14            BITARTRATE              5            7,000       Par Pharmaceutical         N                   30,160                                                                x                    x                    x
                                         AVE, LAKEWOOD, OH,
                                                                                                                5MG/ACETAMINO
                                                44107)

                                        DISCOUNT DRUG MART                                                       HYDROCODONE
    6        MEDINA, OH     BD0995095    #31 (KEVIN M RYAN,           9193       603389032     9/29/14            BITARTRATE              5            4,000       Par Pharmaceutical         N                   28,060                                                                x                    x                    x
                                        RPH, EUCLID, OH, 44119)                                                 5MG/ACETAMINO

                                        DISCOUNT DRUG MART
                                                                                                                 HYDROCODONE
                                        #18 (6160 BRECKSVILLE
    7        MEDINA, OH     AD8606634                                 9193       603389032     9/25/14            BITARTRATE              5            3,000       Par Pharmaceutical         N                   25,660                                                                x                    x                    x
                                        ROAD, INDEPENDENCE,
                                                                                                                5MG/ACETAMINO
                                               OH, 44131)
                                        DISCOUNT DRUG MART
                                                                                                                 HYDROCODONE
                                          #41 (13123 DETROIT
    8        MEDINA, OH     BD3363936                                 9193       603389128     9/30/14        BITARTRATE & ACETA         7.5           2,000       Par Pharmaceutical         N                   24,300                                                                x                    x                    x
                                        AVENUE, LAKEWOOD,
                                                                                                                     7.5MG
                                               OH, 44107)
                                        DISCOUNT DRUG MART
                                         (6148 DUNHAM ROAD,                                                  HYDROCODONE.BIT./ACE
    9        MEDINA, OH     BD2886490                                 9193       603388728     9/30/14                                   10            1,500       Par Pharmaceutical         N                   17,240                                                                x                    x                    x
                                         MAPLE HEIGHTS, OH,                                                     T.,10MG & 325MG/
                                                 44137)
                                         DISCOUNT DRUG MART
                                                                                                                 HYDROCODONE
                                        INC #10 (27300 DETROIT
   10        MEDINA, OH     AD6645305                                 9193       603389032     9/25/14            BITARTRATE              5            3,000       Par Pharmaceutical         N                   15,300                                                                x                    x                    x
                                          RD, WESTLAKE, OH,
                                                                                                                5MG/ACETAMINO
                                                 44145)




                                                                                                                                                                                                                                                                                      Exhibit A (Cuyahoga) - Page 5
                                                                               Case:
                                                               Narrative Response          1:17-md-02804-DAP
                                                                                  - Plaintiffs contend that the following orders, Doc   #: 1964-102
                                                                                                                                  which were                  Filed:
                                                                                                                                             distributed by HBC          07/23/19
                                                                                                                                                                Service Company         15Suspicious
                                                                                                                                                                                constitute  of 38.Orders
                                                                                                                                                                                                     PageID
                                                                                                                                                                                                         as defined#: 166839
                                                                                                                                                                                                                    under 21 C F R § 1301 74(b):


                                                                                                                                                                                                                Total Base Code Dosage
Suspicious                   Buyer DEA   Name, Address, and Store Number                                                                                                                       Due Diligence   Units Distributed by HBC                                               Meets Common Sense   Meets Common Sense
               Distributor                                                 Base Code   NDC Code    Date of Order        Product Name      Dosage Strength Dosage Units        Labeler*                                                      Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                     Number                of Buyer                                                                                                                                  Performed Y/N     Service Company to this                                                     Method 2             Method 3
                                                                                                                                                                                                               location in month of order


                                          GIANT EAGLE PHARMACY
             WASHINGTON,                                                                                           HYDROCODO.BIT/APAP
    1                        BG6784450    #6376 NA (6300 BIDDULPH,           9193      406036005    11/30/11                                   7.5            500          SpecGx LLC               N                   17,530                                                                x                    x                    x
                 PA                                                                                                 7.5MG/750MG USP T
                                           BROOKLYN, OH, 44144)

                                         GIANT EAGLE PHARMACY
             WASHINGTON,                                                                                           HYDROCODO.BIT/APAP
    2                        FG1154638   #5817 NA (7939 DAY DRIVE,           9193      406036005     1/29/12                                   7.5            500          SpecGx LLC               N                   14,860                                                                x                    x                    x
                 PA                                                                                                 7.5MG/750MG USP T
                                          CLEVELAND, OH, 44129)

                                          GIANT EAGLE PHARMACY
             WASHINGTON,                    #0465 NA (14650 SNOW                                                   HYDROCODO.BIT/APAP
    3                        BG6266313                                       9193      406036005     3/28/12                                   7.5            500          SpecGx LLC               N                   14,100                                                                x                    x                    x
                 PA                       ROAD, BROOKPARK, OH,                                                      7.5MG/750MG USP T
                                                   44142)
                                          GIANT EAGLE PHARMACY
             WASHINGTON,                   #0230 NA (3050 W. 117TH                                                 HYDROCODO.BIT/APAP
    4                        FG1056161                                       9193      406036005     6/29/11                                   7.5            500          SpecGx LLC               N                   13,100                                                                x                    x                    x
                 PA                       STREET, CLEVELAND, OH,                                                    7.5MG/750MG USP T
                                                   44111)
                                          GIANT EAGLE PHARMACY
             WASHINGTON,                 #1263 NA (15325 EDGECLIFF                                                 HYDROCODO.BIT/APAP
    5                        BG6562169                                       9193      406036005    10/27/11                                   7.5            500          SpecGx LLC               N                   12,700                                                                x                    x                    x
                 PA                        AVE, CLEVELAND, OH,                                                      7.5MG/750MG USP T
                                                    44111)
                                          GIANT EAGLE PHARMACY
             WASHINGTON,                 #0217 NA (6869 SOUTHLAND                                                  HYDROCODO.BIT/APAP
    6                        BG6028193                                       9193      406036005    11/30/11                                   7.5            500          SpecGx LLC               N                   12,030                                                                x                    x                    x
                 PA                      DRIVE, MIDDLEBURG HGTS,                                                    7.5MG/750MG USP T
                                                 OH, 44130)
                                         GIANT EAGLE PHARMACY
             WASHINGTON,                   #4086 NA (15919 PEARL                                                   HYDROCODONE.BIT. &
    7                        BG5859080                                       9193      603388128    12/18/11                                    5            1,000       Par Pharmaceutical         N                   11,230                                                                x                    x                    x
                 PA                      ROAD, STRONGSVILLE, OH,                                                    ACETA 5MG & 500M
                                                  44136)
                                          GIANT EAGLE PHARMACY
             WASHINGTON,                       #0218 NA (5744                                                      HYDROCODO.BIT/APAP
    8                        BG9708895                                       9193      406036005     6/29/11                                   7.5            500          SpecGx LLC               N                   11,200                                                                x                    x                    x
                 PA                       TRANSPORTATION BLVD,                                                      7.5MG/750MG USP T
                                          GARFIELD HTS, OH, 44125)

                                          GIANT EAGLE PHARMACY                                                         HYDROCODONE
             WASHINGTON,
    9                        BG6527886   #4009 NA (1825 SNOW ROAD,           9193      603388621    10/31/11       BITARTRATE AND ACETA        10             200        Par Pharmaceutical         N                   10,950                                                                x                    x                    x
                 PA
                                             PARMA, OH, 44134)                                                              10M

                                          GIANT EAGLE PHARMACY
             WASHINGTON,                   #1298 NA (13820 LORIAN
   10                        BG6010300                                       9193      603388328     6/29/10       HYDROCOD.BIT 7.5 TAB        7.5            500        Par Pharmaceutical         N                   10,790                                                                x                    x                    x
                 PA                        AVE, CLEVELAND, OH,
                                                   44111)




                                                                                                                                                                                                                                                                                            Exhibit A (Cuyahoga) - Page 6
                                                                                    Case:- Plaintiffs
                                                                         Narrative Response 1:17-md-02804-DAP                      Docwhich
                                                                                                      contend that the following orders, #: were
                                                                                                                                            1964-102
                                                                                                                                                 distributed byFiled: 07/23/19
                                                                                                                                                               H D Smith                16 ofOrders
                                                                                                                                                                         constitute Suspicious 38.as defined
                                                                                                                                                                                                     PageID  under #:
                                                                                                                                                                                                                   21 C166840
                                                                                                                                                                                                                        F R § 1301 74(b):


                                                                                                                                                                                                                     Total Base Code Dosage
Suspicious                  Buyer DEA    Name, Address, and Store Number of                                                                                                                         Due Diligence   Units Distributed by H. D.                                             Meets Common Sense   Meets Common Sense
              Distributor                                                     Base Code    NDC Code     Date of Order       Product Name      Dosage Strength Dosage Units        Labeler*                                                       Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                    Number                    Buyer                                                                                                                                       Performed Y/N     Smith to this location in                                                   Method 2             Method 3
                                                                                                                                                                                                                          month of order


                                        THE MEDICAL SERVICE COMPANY
                                                                                                                            OXYCODONE
             LOUISVILLE,                 COMPLIANCE MANAGER (24000
    1                       AT7232022                                           9143       406051205     12/30/14       HCL/ACETAMINOPHEN           5            2,000          SpecGx LLC               N                   26,500                      x                    x                    x                    x                    x
                 KY                       BROADWAY AVE, OAKWOOD
                                                                                                                             5MG/325M
                                              VILLAGE, OH, 44146)

                                           CHURCH SQUARE PHARMACY                                                           OXYCODONE
             LOUISVILLE,
    2                       FC0792704    (7905 EUCLID AVE, CLEVELAND,           9143       406051201      3/26/10       HCL/ACETAMINOPHEN           5            7,000          SpecGx LLC               N                   25,000                      x                                         x                    x                    x
                 KY
                                                   OH, 44103)                                                                5MG/325M

                                           CHURCH SQUARE PHARMACY                                                           OXYCODONE
             LOUISVILLE,
    3                       FC0792704    (7905 EUCLID AVE, CLEVELAND,           9143       406051201      4/17/10       HCL/ACETAMINOPHEN           5            7,200          SpecGx LLC               N                   24,800                      x                                         x                    x                    x
                 KY
                                                   OH, 44103)                                                                5MG/325M

                                           CHURCH SQUARE PHARMACY                                                           OXYCODONE
             LOUISVILLE,
    4                       FC0792704    (7905 EUCLID AVE, CLEVELAND,           9143       406051201     10/27/10       HCL/ACETAMINOPHEN           5            4,800          SpecGx LLC               N                   23,820                      x                    x                    x                    x                    x
                 KY
                                                   OH, 44103)                                                                5MG/325M

                                        THE MEDICAL SERVICE COMPANY
             LOUISVILLE,                 COMPLIANCE MANAGER (24000                                                      OXYCODONE HCI 10MG
    5                       AT7232022                                           9143      10702005601    10/27/14                                  10            1,200         KVK-Tech, Inc.            N                   22,100                      x                    x                    x                    x                    x
                 KY                       BROADWAY AVE, OAKWOOD                                                             TABLETS USP
                                              VILLAGE, OH, 44146)

                                           CHURCH SQUARE PHARMACY                                                           OXYCODONE
             LOUISVILLE,
    6                       FC0792704    (7905 EUCLID AVE, CLEVELAND,           9143       406051201      9/27/10       HCL/ACETAMINOPHEN           5            2,400          SpecGx LLC               N                   21,440                      x                    x                    x                    x                    x
                 KY
                                                   OH, 44103)                                                                5MG/325M

                                        THE MEDICAL SERVICE COMPANY
             LOUISVILLE,                 COMPLIANCE MANAGER (24000                                                      OXYCODONE HCL 5MG                                         Amneal
    7                       AT7232022                                           9143      65162004710    11/21/14                                   5            1,200                                   N                   20,300                      x                    x                    x                    x                    x
                 KY                       BROADWAY AVE, OAKWOOD                                                          TABLET USP; 100 TA                                  Pharmaceuticals LLC
                                              VILLAGE, OH, 44146)
                                        THE MEDICAL SERVICE COMPANY
                                                                                                                            OXYCODONE
             LOUISVILLE,                 COMPLIANCE MANAGER (24000
    8                       AT7232022                                           9143       406055201     12/27/11         HYDROCHLORIDE             5            1,200          SpecGx LLC               N                   19,100                      x                    x                    x                    x                    x
                 KY                       BROADWAY AVE, OAKWOOD
                                                                                                                            TABLETS 5MG
                                              VILLAGE, OH, 44146)

                                          ACCUSCRIPTS PHARMACY L.L.C.                                                       OXYCODONE
             LOUISVILLE,                                                                                                                                                          Amneal
    9                       FA4141002   (24340 SPERRY DR, WESTLAKE, OH,         9143      53746020301     9/30/14       HCL/ACETAMINOPHEN           5            1,000                                   N                    7,800                                                                x                    x
                 KY                                                                                                                                                          Pharmaceuticals LLC
                                                      44145)                                                                 TABS 5MG

                                          ACCUSCRIPTS PHARMACY L.L.C.                                                       OXYCODONE
             LOUISVILLE,                                                                                                                                                          Amneal
   10                       FA4141002   (24340 SPERRY DR, WESTLAKE, OH,         9143      53746020301    10/31/14       HCL/ACETAMINOPHEN           5            1,000                                   N                    7,400                                                                x                    x
                 KY                                                                                                                                                          Pharmaceuticals LLC
                                                      44145)                                                                 TABS 5MG




                                                                                                                                                                                                                                                                                                   Exhibit A (Cuyahoga) - Page 7
                                                                                Case:
                                                               Narrative Response           1:17-md-02804-DAP
                                                                                  - Plaintiffs                                    Docwere
                                                                                               contend that the following orders, which #: distributed
                                                                                                                                           1964-102         Filed:
                                                                                                                                                       by McKesson    07/23/19
                                                                                                                                                                   Corporation         17Suspicious
                                                                                                                                                                               constitute  of 38.Orders
                                                                                                                                                                                                    PageID
                                                                                                                                                                                                        as defined#: 166841
                                                                                                                                                                                                                   under 21 C F R § 1301 74(b):


                                                                                                                                                                                                                  Total Base Code Dosage
                                                                                                                                                                                                                    Units Distributed by
Suspicious                  Buyer DEA   Name, Address, and Store Number                                                                                                                           Due Diligence                                                                         Meets Common Sense   Meets Common Sense
              Distributor                                                 Base Code    NDC Code     Date of Order        Product Name      Dosage Strength Dosage Units         Labeler*                          McKesson Corporation to     Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                    Number                of Buyer                                                                                                                                      Performed Y/N                                                                                Method 2             Method 3
                                                                                                                                                                                                                  this location in month of
                                                                                                                                                                                                                             order

                                        RITE AID OF OHIO, INC. RITE
                                                                                                                         OXYCODONE
             NEW CASTLE,                   AID #3157 (3402 CLARK
    1                       AG1573674                                       9143       603499821      8/30/11        HCL/ACETAMINOPHEN           5            1,500       Par Pharmaceutical           N                   49,700                     x                    x                    x                    x                    x
                 PA                      AVENUE, CLEVELAND, OH,
                                                                                                                          5MG/325M
                                                   44109)
                                         REMEDI SENIORCARE OF
             NEW CASTLE,                   OHIO-NORTHEAST, LLC                                                       OXYCODONE HCL 5MG                                    Sun Pharmaceutical
    2                       FR3437856                                       9143      57664022388     8/25/14                                    5            7,700                                    N                   34,800                     x                    x                                         x                    x
                 PA                      (26251 BLUESTONE BLVD.,                                                        TABLETS, USP                                        Industries, Inc.
                                        SUITE #1, EUCLID, OH, 44132)
                                        RITE AID OF OHIO, INC. RITE
                                                                                                                         OXYCODONE
             NEW CASTLE,                 AID #4788 (7109 HARVARD
    3                       BR5599519                                       9143       406051205     12/30/14        HCL/ACETAMINOPHEN           5            2,000          SpecGx LLC                N                   26,200                     x                    x                    x                    x                    x
                 PA                      AVENUE, CLEVELAND, OH,
                                                                                                                          5MG/325M
                                                  44105)
                                        RITE AID OF OHIO, INC. RITE
                                                                                                                         OXYCODONE
             NEW CASTLE,                AID #2665 (10502 SAINT CLAIR
    4                       BR2660163                                       9143       406051201      1/19/07        HCL/ACETAMINOPHEN           5            3,600          SpecGx LLC                N                   21,700                     x                    x                    x                    x                    x
                 PA                      AVENUE, CLEVELAND, OH,
                                                                                                                          5MG/325M
                                                    44108)
                                        RITE AID OF OHIO, INC. RITE
             NEW CASTLE,                 AID #3131 (20405 CHAGRIN                                                    ENDOCET TABS - 10MG
    5                       AG8144088                                       9143      60951079770     6/27/11                                   10            1,800       Par Pharmaceutical           N                   21,000                     x                    x                    x                    x                    x
                 PA                        BOULEVARD, SHAKER                                                          OXYCODONE.HCL &
                                            HEIGHTS, OH, 44122)

                                        RITE AID OF OHIO, INC. RITE                                                      OXYCODONE
             NEW CASTLE,
    6                       AG2926876   AID #3053 (5795 STATE ROAD,         9143       406052301      5/30/08        HCL/ACETAMINOPHEN          10            1,200          SpecGx LLC                N                   20,300                     x                    x                    x                    x                    x
                 PA
                                             PARMA, OH, 44134)                                                            10MG/325

                                        RITE AID OF OHIO, INC. RITE                                                      OXYCODONE
             NEW CASTLE,
    7                       AG2924668    AID #3043 (10090 CHESTER           9143       406051201     12/22/09        HCL/ACETAMINOPHEN           5            2,400          SpecGx LLC                N                   18,200                     x                    x                    x                    x                    x
                 PA
                                        AVE, CLEVELAND, OH, 44106)                                                        5MG/325M

                                        RITE AID OF OHIO, INC. RITE
                                                                                                                         OXYCODONE
             NEW CASTLE,                 AID #1570 (6512 FRANKLIN
    8                       AR2963521                                       9143       603499821     10/21/11        HCL/ACETAMINOPHEN           5            1,000       Par Pharmaceutical           N                   18,100                     x                    x                    x                    x                    x
                 PA                      BOULEVARD, CLEVELAND,
                                                                                                                          5MG/325M
                                                 OH, 44102)

                                         GIANT EAGLE PHARMACY
             NEW CASTLE,                                                                                             HYDROCODO.BIT/APAP
    9                       BG6784450     #6376 (6300 BIDDULPH,             9193       406036005      6/30/09                                   7.5           1,000          SpecGx LLC                N                   13,800                     x                    x                    x                    x                    x
                 PA                                                                                                   7.5MG/750MG USP T
                                          BROOKLYN, OH, 44144)

                                         GIANT EAGLE PHARMACY
             NEW CASTLE,                                                                                              HYDROCODONE BIT
   10                       BG6010300    #1298 (13820 LORIAN AVE,           9193       591034905      5/28/09                                    5            1,500       Actavis Pharma, Inc.         N                   13,300                     x                    x                    x                    x                    x
                 PA                                                                                                 5MG/ACETAMINOPHEN 50
                                          CLEVELAND, OH, 44111)




                                                                                                                                                                                                                                                                                                Exhibit A (Cuyahoga) - Page 8
                                                                                Case:
                                                                 Narrative Response         1:17-md-02804-DAP
                                                                                    - Plaintiffs                                    Docwere
                                                                                                 contend that the following orders, which #: distributed
                                                                                                                                              1964-102           Filed:
                                                                                                                                                         by Prescription     07/23/19
                                                                                                                                                                         Supply                18 of 38.
                                                                                                                                                                                Inc constitute Suspicious OrdersPageID       #: 21
                                                                                                                                                                                                                as defined under 166842
                                                                                                                                                                                                                                   C F R § 1301 74(b):

                                                                                                                                                                                                                   Total Base Code Dosage
                                                                                                                                                                                                                     Units Distributed by
Suspicious                    Buyer DEA    Name, Address, and Store Number of                                                                                                                     Due Diligence                                                                          Meets Common Sense   Meets Common Sense
                Distributor                                                     Base Code   NDC Code    Date of Order       Product Name     Dosage Strength Dosage Units        Labeler*                         Prescription Supply Inc to   Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                      Number                    Buyer                                                                                                                                   Performed Y/N                                                                                 Method 2             Method 3
                                                                                                                                                                                                                   this location in month of
                                                                                                                                                                                                                              order


                                            DISCOUNT DRUG MART INC #5                                                       OXYCODONE
    1        NORTHWOOD, OH    AD6388032   (15412 DETROIT AVE, LAKEWOOD,           9143      603499828     12/29/06      HCL/ACETAMINOPHEN          5            1,000       Par Pharmaceutical         N                   13,300                      x                    x                    x                    x                    x
                                                     OH, 44107)                                                              5MG/325M

                                            DISCOUNT DRUG MART INC #5                                                       OXYCODONE
    2        NORTHWOOD, OH    AD6388032   (15412 DETROIT AVE, LAKEWOOD,           9143      406051205     8/31/09       HCL/ACETAMINOPHEN          5             500          SpecGx LLC               N                   13,300                      x                    x                    x                    x                    x
                                                     OH, 44107)                                                              5MG/325M

                                          DISCOUNT DRUG MART #41 (13123                                                     OXYCODONE
    3        NORTHWOOD, OH    BD3363936    DETROIT AVENUE, LAKEWOOD,              9143      406051205     6/30/09       HCL/ACETAMINOPHEN          5            2,000         SpecGx LLC               N                   10,700                      x                                         x                    x                    x
                                                    OH, 44107)                                                               5MG/325M

                                          DISCOUNT DRUG MART #41 (13123                                                     OXYCODONE
    4        NORTHWOOD, OH    BD3363936    DETROIT AVENUE, LAKEWOOD,              9143      406051205     10/30/09      HCL/ACETAMINOPHEN          5            1,000         SpecGx LLC               N                   10,300                      x                                         x                    x                    x
                                                    OH, 44107)                                                               5MG/325M

                                           DISCOUNT DRUG MART INC #8                                                        OXYCODONE
    5        NORTHWOOD, OH    AD6645317      (24485 LORAIN RD, NORTH              9143      406051205     6/29/09       HCL/ACETAMINOPHEN          5            1,000         SpecGx LLC               N                    8,900                      x                                         x                    x                    x
                                                OLMSTED, OH, 44070)                                                          5MG/325M

                                           DISCOUNT DRUG MART INC #8                                                        OXYCODONE
    6        NORTHWOOD, OH    AD6645317      (24485 LORAIN RD, NORTH              9143      406051205     3/30/09       HCL/ACETAMINOPHEN          5             500          SpecGx LLC               N                    8,800                      x                                         x                    x                    x
                                                OLMSTED, OH, 44070)                                                          5MG/325M

                                           OHLIGER DRUG OF FAIRVIEW                                                          ROXICET -                                         West-Ward
    7        NORTHWOOD, OH    AO2914085     PARK (21720 LORAIN ROAD,              9143      54465029      3/23/07        OXYCODONE.HCL &           5            1,000        Pharmaceuticals           N                    8,300                                                                x                    x                    x
                                            FAIRVIEW PARK, OH, 44126)                                                       ACETA 5MG/                                           Corp.

                                           DISCOUNT DRUG MART INC #10                                                       OXYCODONE
    8        NORTHWOOD, OH    AD6645305    (27300 DETROIT RD, WESTLAKE,           9143      406051205     8/31/09       HCL/ACETAMINOPHEN          5            1,000         SpecGx LLC               N                    7,900                                                                x                    x
                                                     OH, 44145)                                                              5MG/325M

                                          DISCOUNT DRUG MART #28 (8191                                                      OXYCODONE
    9        NORTHWOOD, OH    BD0743016   COLUMBIA RD, OLMSTED FALLS,             9143      603499828     1/30/07       HCL/ACETAMINOPHEN          5             500        Par Pharmaceutical         N                    7,900                                                                x                    x
                                                   OH, 44138)                                                                5MG/325M

                                           OHLIGER DRUG OF FAIRVIEW                                                          ROXICET -                                         West-Ward
   10        NORTHWOOD, OH    AO2914085     PARK (21720 LORAIN ROAD,              9143      54465029      11/21/06       OXYCODONE.HCL &           5            1,000        Pharmaceuticals           N                    7,500                                                                x                    x
                                            FAIRVIEW PARK, OH, 44126)                                                       ACETA 5MG/                                           Corp.




                                                                                                                                                                                                                                                                                                 Exhibit A (Cuyahoga) - Page 9
                                                                                     Case:- Plaintiffs
                                                                          Narrative Response 1:17-md-02804-DAP                     Docwhich
                                                                                                       contend that the following orders, #: 1964-102          Filed:
                                                                                                                                              were distributed by Rite Aid07/23/19        19 of
                                                                                                                                                                          constitute Suspicious    38.as defined
                                                                                                                                                                                                Orders    PageID       #:C166843
                                                                                                                                                                                                                 under 21 F R § 1301 74(b):


                                                                                                                                                                                                                  Total Base Code Dosage
Suspicious                  Buyer DEA   Name, Address, and Store Number                                                                                                                           Due Diligence   Units Distributed by Rite                                             Meets Common Sense   Meets Common Sense
              Distributor                                                 Base Code    NDC Code     Date of Order        Product Name      Dosage Strength Dosage Units         Labeler*                                                      Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                    Number                of Buyer                                                                                                                                      Performed Y/N     Aid to this location in                                                    Method 2             Method 3
                                                                                                                                                                                                                      month of order


                                        RITE AID OF OHIO, INC. RITE
                                                                                                                        HYDROCODONE
             ABERDEEN,                     AID #3157 (3402 CLARK
    1                       AG1573674                                       9193       406035705      9/30/09        BIT/ACETAMINOPHEN           5            3,000          SpecGx LLC                N                   30,300                     x                    x                    x                    x                    x
                MD                       AVENUE, CLEVELAND, OH,
                                                                                                                           5MG/50
                                                   44109)

                                        RITE AID OF OHIO, INC. RITE                                                     HYDROCODONE
             ABERDEEN,
    2                       AG2926876   AID #3053 (5795 STATE ROAD,         9193       406035705      7/30/07        BIT/ACETAMINOPHEN           5            1,000          SpecGx LLC                N                   19,700                     x                                                              x                    x
                MD
                                             PARMA, OH, 44134)                                                             5MG/50

                                        RITE AID OF OHIO, INC. RITE
                                                                                                                        HYDROCODONE
             ABERDEEN,                     AID #3153 (15149 SNOW
    3                       AM1573636                                       9193       406035705     10/30/07        BIT/ACETAMINOPHEN           5            2,500          SpecGx LLC                N                   17,500                     x                                         x                    x                    x
                MD                       ROAD, BROOK PARK, OH,
                                                                                                                           5MG/50
                                                   44142)

                                        RITE AID OF OHIO, INC. RITE
             ABERDEEN,                                                                                                 HYDROCOD.BIT.&
    4                       FR0161846   AID #7879 (5455 RIDGE ROAD,         9193       406036201      3/31/10                                   10            1,200          SpecGx LLC                N                   15,000                     x                                         x                    x                    x
                MD                                                                                                   APAP,10MG/660MG/TAB
                                             PARMA, OH, 44129)

                                        RITE AID OF OHIO, INC. RITE
                                                                                                                        HYDROCODONE
             ABERDEEN,                   AID #1570 (6512 FRANKLIN
    5                       AR2963521                                       9193       406035705     12/15/07        BIT/ACETAMINOPHEN           5            1,500          SpecGx LLC                N                   12,400                                                               x                    x                    x
                MD                       BOULEVARD, CLEVELAND,
                                                                                                                           5MG/50
                                                 OH, 44102)
                                        RITE AID OF OHIO, INC. RITE
             ABERDEEN,                  AID #3148 (2323 BROADVIEW                                                    HYDROCODO.BIT/APAP
    6                       AG8660448                                       9193       406036005      5/22/08                                   7.5           1,000          SpecGx LLC                N                   10,000                                                               x                    x                    x
                MD                        ROAD, CLEVELAND, OH,                                                        7.5MG/750MG USP T
                                                   44109)
                                        RITE AID OF OHIO, INC. RITE
             ABERDEEN,                    AID #3486 (11702 LORAIN                                                     HYDROCODONE BIT
    7                       BR3888039                                       9193       591034905      7/30/13                                    5            1,000       Actavis Pharma, Inc.         N                   9,660                                                                x                    x                    x
                MD                       AVENUE, CLEVELAND, OH,                                                     5MG/ACETAMINOPHEN 50
                                                   44111)
                                        RITE AID OF OHIO, INC. RITE
                                                                                                                        HYDROCODONE
             ABERDEEN,                    AID #3155 (29000 LORAIN
    8                       AG1573650                                       9193       406035705     12/28/06        BIT/ACETAMINOPHEN           5            2,000          SpecGx LLC                N                   8,700                                                                x                    x                    x
                MD                      ROAD, NORTH OLMSTED, OH,
                                                                                                                           5MG/50
                                                   44070)

                                        RITE AID OF OHIO, INC. RITE
             ABERDEEN,                                                                                                HYDROCODONE BIT
    9                       FR1208544      AID #4071 (475 E 185TH           9193       591034905     11/22/13                                    5            1,000       Actavis Pharma, Inc.         N                   6,800                                                                x                    x
                MD                                                                                                  5MG/ACETAMINOPHEN 50
                                        STREET, EUCLID, OH, 44119)

                                        RITE AID OF OHIO, INC. RITE
             ABERDEEN,                     AID #3091 (14701 PEARL                                                    HYDROCODONE.BIT. &
   10                       AG8932027                                       9193       603388128      6/29/10                                    5            1,000       Par Pharmaceutical           N                   6,500                                                                x                    x
                MD                       ROAD, STRONGSVILLE, OH,                                                      ACETA 5MG & 500M
                                                   44136)




                                                                                                                                                                                                                                                                                                Exhibit A (Cuyahoga) - Page 10
                                                                          NarrativeCase:
                                                                                   Response -1:17-md-02804-DAP
                                                                                              Plaintiffs contend that the following Doc     #: 1964-102
                                                                                                                                    orders, which were distributed Filed:   07/23/19
                                                                                                                                                                   by Wal-Mart                20 of
                                                                                                                                                                               constitute Suspicious   38.as defined
                                                                                                                                                                                                     Orders  PageID  under #:
                                                                                                                                                                                                                           21 C166844
                                                                                                                                                                                                                                F R § 1301 74(b):


                                                                                                                                                                                                                     Total Base Code Dosage
Suspicious                      Buyer DEA   Name, Address, and Store Number of                                                                                                                       Due Diligence   Units Distributed by Wal-                                             Meets Common Sense   Meets Common Sense
                 Distributor                                                     Base Code   NDC Code    Date of Order        Product Name      Dosage Strength Dosage Units        Labeler*                                                     Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                        Number                   Buyer                                                                                                                                     Performed Y/N     Mart to this location in                                                   Method 2             Method 3
                                                                                                                                                                                                                          month of order


                                            WAL-MART PHARMACY 10-2073
                                                                                                                         HYDROCODONE.BIT./ACE
    1        WILLIAMSPORT, MD   BW5397573    NA (10000 BROOKPARK RD,               9193      603388721     8/19/13                                   10             400        Par Pharmaceutical         N                   19,100                                                               x                    x                    x
                                                                                                                            T.,10MG & 325MG/
                                               BROOKLYN, OH, 44130)

                                            WAL-MART PHARMACY 10-2073
                                                                                                                         HYDROCODO.BIT/APAP
    2        WILLIAMSPORT, MD   BW5397573    NA (10000 BROOKPARK RD,               9193      406036001     12/31/08                                  7.5           2,700         SpecGx LLC               N                   16,600                                                               x                    x                    x
                                                                                                                          7.5MG/750MG USP T
                                               BROOKLYN, OH, 44130)

                                            WAL-MART PHARMACY 10-5082                                                        HYDROCODONE
    3        WILLIAMSPORT, MD   BW8604820    NA (8303 W RIDGEWOOD DR,              9193      406035701     8/19/13        BIT/ACETAMINOPHEN           5             500          SpecGx LLC               N                   16,400                                                               x                    x                    x
                                                  PARMA, OH, 44129)                                                             5MG/50

                                            WAL-MART PHARMACY 10-4285                                                        OXYCODONE
    4          ROGERS, AR       FW0545547    NA (3400 STEELYARD DRIVE,             9143      406051201     4/29/10       HCL/ACETAMINOPHEN            5            2,800         SpecGx LLC               N                   15,100                     x                    x                    x                    x                    x
                                              CLEVELAND, OH, 44109)                                                           5MG/325M

                                            WAL-MART PHARMACY 10-4285                                                        OXYCODONE
    5          ROGERS, AR       FW0545547    NA (3400 STEELYARD DRIVE,             9143      406051201     9/30/10       HCL/ACETAMINOPHEN            5            2,900         SpecGx LLC               N                   14,600                     x                    x                    x                    x                    x
                                              CLEVELAND, OH, 44109)                                                           5MG/325M

                                            WAL-MART PHARMACY 10-2266                                                        HYDROCODONE
             CRAWFORDSVILLE,
    6                           BW5398335       NA (8585 PEARL RD,                 9193      406036305     8/30/13       BIT/ACETA 10MG/500MG        10             500          SpecGx LLC               N                   12,800                                                               x                    x                    x
                   IN
                                             STRONGSVILLE, OH, 44136)                                                            USP

                                            WAL-MART PHARMACY 10-5082
                                                                                                                         HYDROCODO.BIT/APAP
    7        WILLIAMSPORT, MD   BW8604820    NA (8303 W RIDGEWOOD DR,              9193      406036001     12/29/11                                  7.5            600          SpecGx LLC               N                   12,000                                                               x                    x                    x
                                                                                                                          7.5MG/750MG USP T
                                                  PARMA, OH, 44129)

                                            WAL-MART PHARMACY 10-2316                                                        HYDROCODONE
             CRAWFORDSVILLE,
    8                           BW5398385    NA (24801 BROOKPARK RD,               9193      406035705     8/29/13        BIT/ACETAMINOPHEN           5             500          SpecGx LLC               N                   11,400                                                               x                    x                    x
                   IN
                                            NORTH OLMSTEAD, OH, 44070)                                                          5MG/50

                                            WAL-MART PHARMACY 10-2266
             CRAWFORDSVILLE,                                                                                             HYDROCODONE.BIT./ACE
    9                           BW5398335       NA (8585 PEARL RD,                 9193      603388728     12/21/11                                  10             500        Par Pharmaceutical         N                   10,300                                                               x                    x                    x
                   IN                                                                                                       T.,10MG & 325MG/
                                             STRONGSVILLE, OH, 44136)

                                            WAL-MART PHARMACY 10-3326
                                                                                                                             OXYCODONE
                                             NA (5638 TRANSPORTATION
   10          ROGERS, AR       BW9904005                                          9143      406051205     8/31/07       HCL/ACETAMINOPHEN            5            5,500         SpecGx LLC               N                   8,700                      x                                         x                    x                    x
                                             BLVD., GARFIELD HIEGHTS,
                                                                                                                              5MG/325M
                                                      OH, 44125)




                                                                                                                                                                                                                                                                                               Exhibit A (Cuyahoga) - Page 11
                                                                                  Case:
                                                                     Narrative Response      1:17-md-02804-DAP
                                                                                        - Plaintiffs                               Doc
                                                                                                     contend that the following orders,    #:were
                                                                                                                                        which 1964-102
                                                                                                                                                  distributed by Filed:    07/23/19
                                                                                                                                                                 Walgreen Co               21 ofOrders
                                                                                                                                                                             constitute Suspicious 38.as PageID
                                                                                                                                                                                                         defined under#:
                                                                                                                                                                                                                       21 166845
                                                                                                                                                                                                                          C F R § 1301 74(b):


                                                                                                                                                                                                            Total Base Code Dosage
Suspicious                  Buyer DEA     Name, Address, and Store                                                                                                                         Due Diligence      Units Distributed by                                                Meets Common Sense   Meets Common Sense
              Distributor                                              Base Code    NDC Code     Date of Order     Product Name     Dosage Strength Dosage Units         Labeler*                                                       Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                    Number          Number of Buyer                                                                                                                              Performed Y/N       Walgreen Co to this                                                       Method 2             Method 3
                                                                                                                                                                                                           location in month of order


                                          WALGREEN CO. DBA:
                                                                                                                   OXYCODONE
             PERRYSBURG                 WALGREENS # 03314 (5400
    1                       BW4673554                                    9143       591074905      8/29/11       HYDROCHLORIDE            5            6,500       Actavis Pharma, Inc.         N                   38,300                      x                    x                    x                    x                    x
                 , OH                   PEARL ROAD, PARMA, OH,
                                                                                                                  5MG&ACETAMIN
                                                44129)
                                          WALGREEN CO. DBA:
                                                                                                                   OXYCODONE
             PERRYSBURG                   WALGREENS # 05206
    2                       BW6704185                                    9143       591074905     10/31/11       HYDROCHLORIDE            5            3,000       Actavis Pharma, Inc.         N                   35,900                      x                    x                    x                    x                    x
                 , OH                     (11701 DETROIT AVE,
                                                                                                                  5MG&ACETAMIN
                                         LAKEWOOD, OH, 44107)
                                          WALGREEN CO. DBA:
                                                                                                                   OXYCODONE
             PERRYSBURG                 WALGREENS # 12444 (3415
    3                       BW4096360                                    9143       591074905      3/29/12       HYDROCHLORIDE            5            3,500       Actavis Pharma, Inc.         N                   34,300                      x                    x                    x                    x                    x
                 , OH                      CLARK AVENUE,
                                                                                                                  5MG&ACETAMIN
                                         CLEVELAND, OH, 44109)
                                          WALGREEN CO. DBA:
                                                                                                                   OXYCODONE
             PERRYSBURG                 WALGREENS # 03308 (4265
    4                       BW5624184                                    9143       591074905      5/30/12       HYDROCHLORIDE            5            1,500       Actavis Pharma, Inc.         N                   30,100                      x                    x                    x                    x                    x
                 , OH                   STATE RD., CLEVELAND,
                                                                                                                  5MG&ACETAMIN
                                              OH, 44109)
                                          WALGREEN CO. DBA:
                                                                                                                   OXYCODONE
             PERRYSBURG                   WALGREENS # 10710
    5                       BW9525188                                    9143       591074905     10/22/10       HYDROCHLORIDE            5            4,500       Actavis Pharma, Inc.         N                   29,700                      x                    x                    x                    x                    x
                 , OH                     (20485 EUCLID AVE,
                                                                                                                  5MG&ACETAMIN
                                           EUCLID, OH, 44117)
                                           WALGREEN CO. DBA:
                                                                                                                   OXYCODONE
             PERRYSBURG                    WALGREENS # 03312
    6                       BW4139564                                    9143       591074905      4/14/11       HYDROCHLORIDE            5            5,000       Actavis Pharma, Inc.         N                   27,600                      x                                         x                    x                    x
                 , OH                   (22401 LAKE SHORE BLVD,
                                                                                                                  5MG&ACETAMIN
                                            EUCLID, OH, 44123)
                                          WALGREEN CO. DBA:
                                                                                                                   OXYCODONE
             PERRYSBURG                   WALGREENS # 03238
    7                       BW4129854                                    9143       591074905      4/30/08       HYDROCHLORIDE            5            2,000       Actavis Pharma, Inc.         N                   25,400                      x                    x                    x                    x                    x
                 , OH                     (14525 EUCLID, EAST
                                                                                                                  5MG&ACETAMIN
                                         CLEVELAND, OH, 44112)
                                          WALGREEN CO. DBA:
                                                                                                                   OXYCODONE
             PERRYSBURG                 WALGREENS # 03226 (6410
    8                       BW4129842                                    9143       591074905      4/29/11       HYDROCHLORIDE            5            3,500       Actavis Pharma, Inc.         N                   25,100                      x                                         x                    x                    x
                 , OH                     BROADWAY AVENUE,
                                                                                                                  5MG&ACETAMIN
                                         CLEVELAND, OH, 44105)
                                          WALGREEN CO. DBA:
                                                                                                                   OXYCODONE
             PERRYSBURG                    WALGREENS # 03256
    9                       BW4387759                                    9143       591074905      1/23/13       HYDROCHLORIDE            5            4,000       Actavis Pharma, Inc.         N                   22,400                      x                                         x                    x                    x
                 , OH                    (11401 UNION AVENUE,
                                                                                                                  5MG&ACETAMIN
                                         CLEVELAND, OH, 44105)
                                         WALGREEN CO. DBA:
                                                                                                                   OXYCODONE
             PERRYSBURG                 WALGREENS # 04159 (6300
   10                       BW5688176                                    9143       591074905      8/29/11       HYDROCHLORIDE            5            3,000       Actavis Pharma, Inc.         N                   21,200                      x                                         x                    x                    x
                 , OH                     PEARL RD., PARMA
                                                                                                                  5MG&ACETAMIN
                                          HEIGHTS, OH, 44130)




                                                                                                                                                                                                                                                                                           Exhibit A (Cuyahoga) - Page 12
Case: 1:17-md-02804-DAP Doc #: 1964-102 Filed: 07/23/19 22 of 38. PageID #: 166846




               Exhibit B
            (Summit County)
                                                           Narrative ResponseCase:
                                                                              - Plaintiffs1:17-md-02804-DAP                   Docwere
                                                                                           contend that the following orders, which #: distributed
                                                                                                                                        1964-102         Filed: 07/23/19
                                                                                                                                                   by AmerisourceBergen             23Suspicious
                                                                                                                                                                        Drug constitute of 38. Orders
                                                                                                                                                                                                 PageID       #:under
                                                                                                                                                                                                      as defined 166847
                                                                                                                                                                                                                      21 C F R § 1301 74(b):


                                                                                                                                                                                                         Total Base Code Dosage
                                                                                                                                                                                                           Units Distributed by
Suspicious                   Buyer DEA     Name, Address, and Store                                                                                                                       Due Diligence                                                                        Meets Common Sense   Meets Common Sense
               Distributor                                            Base Code   NDC Code    Date of Order       Product Name     Dosage Strength Dosage Units         Labeler*                        AmerisourceBergen Drug to    Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                     Number          Number of Buyer                                                                                                                            Performed Y/N                                                                               Method 2             Method 3
                                                                                                                                                                                                         this location in month of
                                                                                                                                                                                                                    order


                                           RITZMAN PHARMACY                                                      HYDROCODONE
             LOCKBOURNE,
    1                        BR0573407    #101 (1323 COPLEY RD,         9193      406035705     10/7/11       BIT/ACETAMINOPHEN          5           21,000          SpecGx LLC                N                  55,600                     x                    x                    x                    x                    x
                 OH
                                            AKRON, OH, 44320)                                                       5MG/50

                                          RITZMAN PHARMACY
                                                                                                                 HYDROCODONE
             LOCKBOURNE,                   #102 (390 ROBINSON
    2                        BR0573421                                  9193      406035705     10/6/11       BIT/ACETAMINOPHEN          5           18,000          SpecGx LLC                N                  41,800                     x                    x                    x                    x                    x
                 OH                       AVENUE, BARBERTON,
                                                                                                                    5MG/50
                                                OH, 44203)

                                         RALEY DRUG STORE, INC
             LOCKBOURNE,                                                                                      OXYCODONE HCL 40MG
    3                        BR3629485    (1760 GOODYEAR BLVD,          9143      591350301    10/26/06                                 40            4,800       Actavis Pharma, Inc.         N                  39,300                     x                    x                    x                    x                    x
                 OH                                                                                                 TABS
                                             AKRON, OH, 44305)

                                            WALGREEN CO. DBA:
                                                                                                                  OXYCODONE
             LOCKBOURNE,                 WALGREENS # 03281 (1130
    4                        BW4139540                                  9143      228298150    12/26/14       HCL/ACETAMINOPHEN          5            5,500       Actavis Pharma, Inc.         N                  31,500                     x                    x                    x                    x                    x
                 OH                      S. ARLINGTON ST, AKRON,
                                                                                                                   5MG/325M
                                                 OH, 44306)
                                          WALGREEN CO. DBA:
                                                                                                                  OXYCODONE
             LOCKBOURNE,                 WALGREENS # 04776 (900
    5                        BW6026668                                  9143      228298150    12/26/14       HCL/ACETAMINOPHEN          5            3,500       Actavis Pharma, Inc.         N                  30,700                     x                    x                    x                    x                    x
                 OH                       WOOSTER RD NORTH,
                                                                                                                   5MG/325M
                                         BARBERTON, OH, 44203)
                                           WALGREEN CO. DBA:
                                                                                                                  OXYCODONE
             LOCKBOURNE,                 WALGREENS # 03572 (2645
    6                        BW4550287                                  9143      228298150    12/30/14       HCL/ACETAMINOPHEN          5            2,500       Actavis Pharma, Inc.         N                  27,400                     x                    x                    x                    x                    x
                 OH                       STATE RD, CUYAHOGA
                                                                                                                   5MG/325M
                                            FALLS, OH, 44223)
                                           WALGREEN CO. DBA:
                                                                                                                  OXYCODONE
             LOCKBOURNE,                  WALGREENS # 05904 (830
    7                        BW6819924                                  9143      228298150    10/29/14       HCL/ACETAMINOPHEN          5            2,500       Actavis Pharma, Inc.         N                  27,300                     x                    x                    x                    x                    x
                 OH                      BRITTAIN RD, AKRON, OH,
                                                                                                                   5MG/325M
                                                  44305)
                                           WALGREEN CO. DBA:
                                                                                                                  OXYCODONE
             LOCKBOURNE,                 WALGREENS # 03279 (1303
    8                        BW4129892                                  9143      591074905    10/29/13         HYDROCHLORIDE            5            3,000       Actavis Pharma, Inc.         N                  26,800                     x                    x                    x                    x                    x
                 OH                       COPLEY ROAD, AKRON,
                                                                                                                 5MG&ACETAMIN
                                               OH, 44320)
                                         THE FRED W ALBRECHT
                                                                                                                  OXYCODONE
             LOCKBOURNE,                  GROCERY (DBA ACME
    9                        AY3510131                                  9143      406051205    10/29/12       HCL/ACETAMINOPHEN          5            2,500          SpecGx LLC                N                  26,500                     x                    x                    x                    x                    x
                 OH                      PHARMACY #18, AKRON,
                                                                                                                   5MG/325M
                                               OH, 44314)
                                          WALGREEN CO. DBA:
                                                                                                                  OXYCODONE
             LOCKBOURNE,                 WALGREENS # 03741 (302
   10                        BW5523469                                  9143      228298150    12/30/14       HCL/ACETAMINOPHEN          5            2,000       Actavis Pharma, Inc.         N                  25,600                     x                    x                    x                    x                    x
                 OH                      CANTON ROAD, AKRON,
                                                                                                                   5MG/325M
                                              OH, 44312)




                                                                                                                                                                                                                                                                                           Exhibit B (Summit) - Page 1
                                                                                   Case:- 1:17-md-02804-DAP
                                                                         Narrative Response Plaintiffs contend that the following Doc     #: 1964-102
                                                                                                                                  orders, which were distributedFiled:    07/23/19
                                                                                                                                                                by Anda, Inc               24 ofOrders
                                                                                                                                                                             constitute Suspicious 38. asPageID      #:21166848
                                                                                                                                                                                                          defined under  C F R § 1301 74(b):


                                                                                                                                                                                                                    Total Base Code Dosage
Suspicious                  Buyer DEA   Name, Address, and Store Number of                                                                                                                           Due Diligence Units Distributed by Anda,                                               Meets Common Sense   Meets Common Sense
              Distributor                                                    Base Code    NDC Code     Date of Order        Product Name      Dosage Strength Dosage Units         Labeler*                                                       Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                    Number                   Buyer                                                                                                                                         Performed Y/N Inc to this location in month                                                   Method 2             Method 3
                                                                                                                                                                                                                             of order


                                        NEW CHOICE PHARMACY (1900
             GROVEPORT,                                                                                                OXYCODONE HCL 40MG
    1                       BN8680399     23RD STREET, CUYAHOGA                9143       591350301      2/28/07                                   40           10,000       Actavis Pharma, Inc.         N                   68,400                      x                    x                    x                    x                    x
                OH                                                                                                           TABS
                                              FALLS, OH, 44223)

                                        NEW CHOICE PHARMACY (1900
             GROVEPORT,                                                                                                OXYCODONE HCL 80MG
    2                       BN8680399     23RD STREET, CUYAHOGA                9143       591350401     11/29/06                                   80            2,400       Actavis Pharma, Inc.         N                   63,600                      x                    x                    x                    x                    x
                OH                                                                                                           TABS
                                              FALLS, OH, 44223)

                                        NEW CHOICE PHARMACY (1900                                                           OXYCODONE
             GROVEPORT,
    3                       BC8680399     23RD STREET, CUYAHOGA                9143       406051205      1/30/06        HCL/ACETAMINOPHEN           5            6,000          SpecGx LLC                N                   10,200                      x                    x                    x                    x                    x
                OH
                                              FALLS, OH, 44223)                                                              5MG/325M

                                         DISCOUNT DRUG MART #33                                                             OXYCODONE
             GROVEPORT,
    4                       BD1354149       (655 PORTAGE TRAIL,                9143       591074905     11/11/11          HYDROCHLORIDE             5            1,500       Actavis Pharma, Inc.         N                   10,000                      x                    x                    x                    x                    x
                OH
                                        CUYAHOGA FALLS, OH, 44221)                                                         5MG&ACETAMIN

                                         DISCOUNT DRUG MART #33                                                             OXYCODONE
             GROVEPORT,
    5                       BD1354149       (655 PORTAGE TRAIL,                9143       591074905      2/24/12          HYDROCHLORIDE             5            1,500       Actavis Pharma, Inc.         N                    8,300                      x                    x                                         x                    x
                OH
                                        CUYAHOGA FALLS, OH, 44221)                                                         5MG&ACETAMIN

                                          GIANT EAGLE PHARMACY
                                                                                                                         HYDROCODONE BIT
    6        WESTON, FL     AG2819540    #4124 (484 EAST WATERLOO              9193       591034905      11/5/13                                    5            4,500       Actavis Pharma, Inc.         N                    5,700                      x                    x                    x                    x
                                                                                                                       5MG/ACETAMINOPHEN 50
                                           RD, AKRON, OH, 44319)

                                          GIANT EAGLE PHARMACY
                                                                                                                         HYDROCODONE BIT
    7        WESTON, FL     BG7042891     #4031 (41 5TH STREET SE,             9193       591034905      11/4/13                                    5            3,000       Actavis Pharma, Inc.         N                    5,700                      x                    x                    x                    x
                                                                                                                       5MG/ACETAMINOPHEN 50
                                           BARBERTON, OH, 44203)

                                          GIANT EAGLE PHARMACY
             GROVEPORT,                                                                                                  HYDROCODONE BIT
    8                       BG7042891     #4031 (41 5TH STREET SE,             9193       591034901      1/13/09                                    5            1,200       Actavis Pharma, Inc.         N                    5,000                                                                x                    x
                OH                                                                                                     5MG/ACETAMINOPHEN 50
                                           BARBERTON, OH, 44203)

                                         GIANT EAGLE PHARMACY
             GROVEPORT,                                                                                                  HYDROCODONE BIT
    9                       BG7543172   #4029 (2801 EAST WATERLOO              9193       591034905      4/3/12                                     5            3,500       Actavis Pharma, Inc.         N                    3,500                      x                                         x                    x
                OH                                                                                                     5MG/ACETAMINOPHEN 50
                                         ROAD, AKRON, OH, 44312)

                                        KARANT PHARMACY SERVICES
                                                                                                                            OXYCODONE
             GROVEPORT,                 DBA: MEDICINE SHOPPE #1065                                                                                                                Amneal
   10                       BK5109930                                          9143      53746020305     6/10/09        HCL/ACETAMINOPHEN           5            1,500                                    N                    2,500                                                                x                    x
                OH                        (3300 GREENWICH ROAD,                                                                                                              Pharmaceuticals LLC
                                                                                                                             TABS 5MG
                                             NORTON, OH, 44203)




                                                                                                                                                                                                                                                                                                     Exhibit B (Summit) - Page 2
                                                                                  Case:
                                                                     Narrative Response      1:17-md-02804-DAP
                                                                                        - Plaintiffs                               Doc
                                                                                                     contend that the following orders,    #:were
                                                                                                                                        which 1964-102
                                                                                                                                                  distributed by Filed:    07/23/19
                                                                                                                                                                 Cardinal Health             25 of 38.
                                                                                                                                                                                 constitute Suspicious OrdersPageID      #: 166849
                                                                                                                                                                                                             as defined under 21 C F R § 1301 74(b):


                                                                                                                                                                                                                     Total Base Code Dosage
Suspicious                  Buyer DEA   Name, Address, and Store Number of                                                                                                                          Due Diligence      Units Distributed by                                                Meets Common Sense   Meets Common Sense
              Distributor                                                    Base Code   NDC Code    Date of Order        Product Name       Dosage Strength Dosage Units         Labeler*                                                       Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                    Number                   Buyer                                                                                                                                        Performed Y/N      Cardinal Health to this                                                    Method 2             Method 3
                                                                                                                                                                                                                    location in month of order


                                         NEW CHOICE PHARMACY                                                             OXYCODONE
             WHEELING,
    1                       BN8680399       (1900 23RD STREET,                 9143      406051205     8/29/07       HCL/ACETAMINOPHEN             5           10,000          SpecGx LLC                N                  134,900                      x                    x                    x                    x                    x
                WV
                                        CUYAHOGA FALLS, OH, 44223)                                                        5MG/325M

                                         NEW CHOICE PHARMACY                                                             OXYCODONE
             WHEELING,
    2                       BC8680399       (1900 23RD STREET,                 9143      406051205     1/30/06       HCL/ACETAMINOPHEN             5            6,000          SpecGx LLC                N                  106,400                      x                    x                    x                    x                    x
                WV
                                        CUYAHOGA FALLS, OH, 44223)                                                        5MG/325M




                                         MARC GLASSMAN INC DBA
             WHEELING,                                                                                               HYDROCODONE.BIT. &
    5                       BM2807824   MARC'S (360 EAST WATERLOO              9193      603388132     7/26/06                                     5           18,000       Par Pharmaceutical           N                   41,200                      x                    x                    x                    x                    x
                WV                                                                                                    ACETA 5MG & 500M
                                          RD, AKRON, OH, 44319)

                                        OHIO CVS STORES, L.L.C. DBA:
             WHEELING,                  CVS/PHARMACY # 03083 (780                                                    OXYCODONE.HCL/APAP
    6                       FO1803368                                          9143      591093201    12/28/11                                    10            2,400       Actavis Pharma, Inc.         N                   33,100                      x                    x                    x                    x                    x
                WV                      BRITTAIN ROAD, AKRON, OH,                                                      10MG/325MG TABS
                                                   44305)


    7



                                         NEW CHOICE PHARMACY                                                              HYDROCODONE
             WHEELING,
    8                       FN1432854       (1900 23RD STREET,                 9193      603388732    12/31/09       BIT./ACETA 10MG/325MG        10            1,000       Par Pharmaceutical           N                   25,900                      x                    x                    x                    x                    x
                WV
                                        CUYAHOGA FALLS, OH, 44223)                                                             TA

                                        OHIO CVS STORES, L.L.C. DBA:
             WHEELING,                  CVS/PHARMACY # 04312 (1225                                                   OXYCODONE.HCL/APAP
    9                       AR6492223                                          9143      591093201    11/26/10                                    10            1,600       Actavis Pharma, Inc.         N                   25,200                      x                    x                    x                    x                    x
                WV                        CANTON RD, AKRON, OH,                                                        10MG/325MG TABS
                                                  44312)
                                        OHIO CVS STORES, L.L.C. DBA:
                                                                                                                         OXYCODONE
             WHEELING,                  CVS/PHARMACY # 03041 (235
   10                       AR2943656                                          9143      406051201     5/23/12       HCL/ACETAMINOPHEN             5            2,400          SpecGx LLC                N                   24,900                      x                    x                    x                    x                    x
                WV                      EAST CUYAHOGA FALLS AVE,
                                                                                                                          5MG/325M
                                             AKRON, OH, 44310)




                                                                                                                                                                                                                                                                                                       Exhibit B (Summit) - Page 3
                                                                              NarrativeCase:
                                                                                        Response1:17-md-02804-DAP
                                                                                                - Plaintiffs contend that the followingDoc
                                                                                                                                       orders,#: 1964-102
                                                                                                                                              which were distributedFiled:    07/23/19
                                                                                                                                                                     by CVS constitute         26Orders
                                                                                                                                                                                       Suspicious  of 38.       PageID
                                                                                                                                                                                                        as defined under 21 C#:
                                                                                                                                                                                                                              F R166850
                                                                                                                                                                                                                                  § 1301 74(b):


                                                                                                                                                                                                         Total Base Code Dosage
Suspicious                   Buyer DEA   Name, Address, and Store Number of                                                                                                               Due Diligence Units Distributed by CVS to                                             Meets Common Sense   Meets Common Sense
               Distributor                                                     Base Code    NDC Code     Date of Order      Product Name     Dosage Strength Dosage Units    Labeler*                                                 Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                     Number                   Buyer                                                                                                                             Performed Y/N   this location in month of                                                    Method 2             Method 3
                                                                                                                                                                                                                    order


                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                            HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 04800 (590
    1                        BR0287234                                           9193       406035705     12/19/09       BIT/ACETAMINOPHEN         5            8,000       SpecGx LLC         N                   50,800                     x                    x                    x                    x                    x
                  IN                       EAST MARKET STREET,
                                                                                                                               5MG/50
                                             AKRON, OH, 44304)
                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                            HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 04800 (590
    2                        BR0287234                                           9193       406035705     10/17/09       BIT/ACETAMINOPHEN         5           27,500       SpecGx LLC         N                   50,200                     x                    x                    x                    x                    x
                  IN                       EAST MARKET STREET,
                                                                                                                               5MG/50
                                             AKRON, OH, 44304)
                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                            HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 03355 (4195
    3                        AR2916659                                           9193       406035705     10/28/09       BIT/ACETAMINOPHEN         5            9,000       SpecGx LLC         N                   47,400                     x                    x                    x                    x                    x
                  IN                      S. CLEVELAND-MASSILLON
                                                                                                                               5MG/50
                                          ROAD, NORTON, OH, 44203)
                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                            HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 04312 (1225
    4                        AR6492223                                           9193       406035705     10/29/09       BIT/ACETAMINOPHEN         5            9,500       SpecGx LLC         N                   46,700                     x                    x                    x                    x                    x
                  IN                       CANTON RD, AKRON, OH,
                                                                                                                               5MG/50
                                                   44312)
                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                            HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 03041 (235
    5                        AR2943656                                           9193       406035705     10/29/09       BIT/ACETAMINOPHEN         5            9,500       SpecGx LLC         N                   39,900                     x                                         x                    x                    x
                  IN                     EAST CUYAHOGA FALLS AVE,
                                                                                                                               5MG/50
                                              AKRON, OH, 44310)
                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                            HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 04309 (1711
    6                        AR6270134                                           9193       406035705     10/31/09       BIT/ACETAMINOPHEN         5            5,500       SpecGx LLC         N                   34,100                     x                                         x                    x                    x
                  IN                     STATE RD, CUYAHOGA FALLS,
                                                                                                                               5MG/50
                                                 OH, 44223)
                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                            HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 03320 (426
    7                        AR4858087                                           9193       406035705     10/28/09       BIT/ACETAMINOPHEN         5            8,000       SpecGx LLC         N                   33,900                     x                                         x                    x                    x
                  IN                     ROBINSON AVE., BARBERTON,
                                                                                                                               5MG/50
                                                 OH, 44203)
                                         BRITTAIN ROAD CVS, INC. DBA:
                                                                                                                            HYDROCODONE
             INDIANAPOLIS,                CVS/PHARMACY # 03083 (780
    8                        BC5772579                                           9193       406035705     10/29/09       BIT/ACETAMINOPHEN         5           12,000       SpecGx LLC         N                   32,500                     x                                         x                    x                    x
                  IN                      BRITTAIN ROAD, AKRON, OH,
                                                                                                                               5MG/50
                                                    44305)

                                         OHIO CVS STORES, L.L.C. DBA:                                                       HYDROCODONE
             INDIANAPOLIS,
    9                        AR2879318   CVS/PHARMACY # 03360 (3352              9193       406035705     10/31/09       BIT/ACETAMINOPHEN         5            9,000       SpecGx LLC         N                   32,000                     x                                         x                    x                    x
                  IN
                                         KENT ROAD, STOW, OH, 44224)                                                           5MG/50

                                         OHIO CVS STORES, L.L.C. DBA:
                                                                                                                            HYDROCODONE
             INDIANAPOLIS,               CVS/PHARMACY # 04333 (2091
   10                        AR7850933                                           9193       406035705     10/29/09       BIT/ACETAMINOPHEN         5            4,000       SpecGx LLC         N                   31,600                     x                                         x                    x                    x
                  IN                     EASTWOOD AVENUE, AKRON,
                                                                                                                               5MG/50
                                                 OH, 44305)




                                                                                                                                                                                                                                                                                            Exhibit B (Summit) - Page 4
                                                                               Case:
                                                                Narrative Response         1:17-md-02804-DAP
                                                                                   - Plaintiffs                                 Doc
                                                                                                contend that the following orders, which#: 1964-102
                                                                                                                                         were                Filed:Drug
                                                                                                                                              distributed by Discount 07/23/19       27Suspicious
                                                                                                                                                                        Mart constitute  of 38.Orders
                                                                                                                                                                                                  PageID      #:under
                                                                                                                                                                                                      as defined 166851
                                                                                                                                                                                                                      21 C F R § 1301 74(b):


                                                                                                                                                                                                              Total Base Code Dosage
Suspicious                  Buyer DEA     Name, Address, and Store                                                                                                                           Due Diligence      Units Distributed by                                                Meets Common Sense   Meets Common Sense
              Distributor                                            Base Code    NDC Code     Date of Order        Product Name      Dosage Strength Dosage Units         Labeler*                                                       Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                    Number          Number of Buyer                                                                                                                                Performed Y/N    Discount Drug Mart to this                                                   Method 2             Method 3
                                                                                                                                                                                                             location in month of order


                                        DISCOUNT DRUG MART                                                         HYDROCODONE
    1        MEDINA, OH     BD3814123   #45 (711 CANTON ROAD,          9193       603389032      9/26/14            BITARTRATE              5            5,000       Par Pharmaceutical           N                   57,500                                                                x                    x                    x
                                           AKRON, OH, 44312)                                                      5MG/ACETAMINO

                                         DISCOUNT DRUG MART
                                                                                                                   HYDROCODONE
                                        #33 (655 PORTAGE TRAIL,
    2        MEDINA, OH     BD1354149                                  9193       603389032      9/17/14            BITARTRATE              5           17,000       Par Pharmaceutical           N                   48,380                                                                x                    x                    x
                                         CUYAHOGA FALLS, OH,
                                                                                                                  5MG/ACETAMINO
                                                  44221)

                                        DISCOUNT DRUG MART
                                                                                                                 HYDROCODONE BIT
    3        MEDINA, OH     BD3814123   #45 (711 CANTON ROAD,          9193       591034905      3/23/12                                    5            2,000       Actavis Pharma, Inc.         N                   16,080                                                                x                    x                    x
                                                                                                               5MG/ACETAMINOPHEN 50
                                           AKRON, OH, 44312)

                                         DISCOUNT DRUG MART
                                        #33 (655 PORTAGE TRAIL,                                                  HYDROCODONE BIT
    4        MEDINA, OH     BD1354149                                  9193       591034905     12/22/10                                    5            2,000       Actavis Pharma, Inc.         N                   15,700                                                                x                    x                    x
                                         CUYAHOGA FALLS, OH,                                                   5MG/ACETAMINOPHEN 50
                                                  44221)
                                         DISCOUNT DRUG MART
                                        #33 (655 PORTAGE TRAIL,                                                  HYDROCODONE BIT
    5        MEDINA, OH     BD1354149                                  9193       591034905      6/29/11                                    5            2,000       Actavis Pharma, Inc.         N                   15,500                                                                x                    x                    x
                                         CUYAHOGA FALLS, OH,                                                   5MG/ACETAMINOPHEN 50
                                                  44221)

                                        DISCOUNT DRUG MART
                                                                                                                 HYDROCODONE BIT
    6        MEDINA, OH     BD3814123   #45 (711 CANTON ROAD,          9193       591034905      6/24/11                                    5            1,500       Actavis Pharma, Inc.         N                   14,660                                                                x                    x                    x
                                                                                                               5MG/ACETAMINOPHEN 50
                                           AKRON, OH, 44312)

                                        DISCOUNT DRUG MART
                                                                                                                   HYDROCODONE
                                        #80 (3100 GLENWOOD
    7        MEDINA, OH     FD1062417                                  9193       603389032      9/16/14            BITARTRATE              5            2,000       Par Pharmaceutical           N                   13,860                                                                x                    x                    x
                                        BLVD, TWINSBURG, OH,
                                                                                                                  5MG/ACETAMINO
                                                44087)

                                        DISCOUNT DRUG MART                                                         HYDROCODONE
    8        MEDINA, OH     BD1270951    (4044 FISHCREEK RD,           9193       603389128      9/24/14        BITARTRATE & ACETA         7.5           1,000       Par Pharmaceutical           N                   10,320                                                                x                    x                    x
                                           STOW, OH, 44224)                                                            7.5MG

                                        DISCOUNT DRUG MART
                                                                                                                 HYDROCODONE BIT
    9        MEDINA, OH     BD1270951    (4044 FISHCREEK RD,           9193       591034905     12/31/08                                    5            1,500       Actavis Pharma, Inc.         N                    9,700                                                                x                    x                    x
                                                                                                               5MG/ACETAMINOPHEN 50
                                           STOW, OH, 44224)

                                        DISCOUNT DRUG MART                                                        HYDROCODONE
   10        MEDINA, OH     BD7351466   #64 (5863 DARROW RD,           9193       591038705      7/24/07            BITARTRATE             7.5            500        Actavis Pharma, Inc.         N                    4,200                                                                x                    x
                                          HUDSON, OH, 44236)                                                      7.5MG/ACETAMI




                                                                                                                                                                                                                                                                                             Exhibit B (Summit) - Page 5
                                                              Narrative ResponseCase:
                                                                                 - Plaintiffs1:17-md-02804-DAP                   Docwere
                                                                                              contend that the following orders, which #: distributed
                                                                                                                                          1964-102    by HBCFiled:    07/23/19
                                                                                                                                                             Service Company constitute28  of 38.Orders
                                                                                                                                                                                        Suspicious  PageID
                                                                                                                                                                                                        as defined#: 166852
                                                                                                                                                                                                                  under 21 C F R § 1301 74(b):


                                                                                                                                                                                                          Total Base Code Dosage
Suspicious                   Buyer DEA     Name, Address, and Store                                                                                                                      Due Diligence   Units Distributed by HBC                                               Meets Common Sense   Meets Common Sense
               Distributor                                            Base Code   NDC Code     Date of Order       Product Name     Dosage Strength Dosage Units        Labeler*                                                      Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                     Number          Number of Buyer                                                                                                                           Performed Y/N     Service Company to this                                                     Method 2             Method 3
                                                                                                                                                                                                         location in month of order


                                         GIANT EAGLE PHARMACY
             WASHINGTON,                 #4031 NA (41 5TH STREET                                               HYDROCODONE.BIT. &
    1                        BG7042891                                  9193      603388128      1/30/12                                  5            1,500       Par Pharmaceutical         N                   47,290                      x                    x                    x                    x                    x
                 PA                        SE, BARBERTON, OH,                                                   ACETA 5MG & 500M
                                                  44203)
                                         GIANT EAGLE PHARMACY
             WASHINGTON,                 #4031 NA (41 5TH STREET                                               HYDROCODONE.BIT. &
    2                        BG7042891                                  9193      603388128     10/31/11                                  5            1,500       Par Pharmaceutical         N                   44,250                      x                    x                    x                    x                    x
                 PA                        SE, BARBERTON, OH,                                                   ACETA 5MG & 500M
                                                  44203)
                                         GIANT EAGLE PHARMACY
             WASHINGTON,                    #4124 NA (484 EAST                                                 HYDROCODONE.BIT. &
    3                        AG2819540                                  9193      603388128      3/30/11                                  5            1,000       Par Pharmaceutical         N                   25,730                      x                                         x                    x                    x
                 PA                       WATERLOO RD, AKRON,                                                   ACETA 5MG & 500M
                                                OH, 44319)
                                         GIANT EAGLE PHARMACY
             WASHINGTON,                    #4124 NA (484 EAST                                                 HYDROCODONE.BIT. &
    4                        AG2819540                                  9193      603388128     10/28/11                                  5            1,000       Par Pharmaceutical         N                   25,450                                                                x                    x                    x
                 PA                       WATERLOO RD, AKRON,                                                   ACETA 5MG & 500M
                                                OH, 44319)
                                         GIANT EAGLE PHARMACY
             WASHINGTON,                    #4029 NA (2801 EAST                                                HYDROCODONE.BIT. &
    5                        BG7543172                                  9193      603388128      1/28/13                                  5            1,500       Par Pharmaceutical         N                   23,360                                                                x                    x                    x
                 PA                         WATERLOO ROAD,                                                      ACETA 5MG & 500M
                                            AKRON, OH, 44312)
                                         GIANT EAGLE PHARMACY
             WASHINGTON,                    #4029 NA (2801 EAST                                                HYDROCODONE.BIT. &
    6                        BG7543172                                  9193      603388128     12/30/12                                  5            1,000       Par Pharmaceutical         N                   21,960                                                                x                    x                    x
                 PA                         WATERLOO ROAD,                                                      ACETA 5MG & 500M
                                            AKRON, OH, 44312)

                                         GIANT EAGLE PHARMACY
             WASHINGTON,                                                                                       HYDROCODONE.BIT. &
    7                        BG7543209   #4030 NA (205 WEST AVE,        9193      603388128     11/30/11                                  5            1,000       Par Pharmaceutical         N                   21,790                                                                x                    x                    x
                 PA                                                                                             ACETA 5MG & 500M
                                          TALLMADGE, OH, 44278)

                                         GIANT EAGLE PHARMACY
             WASHINGTON,                                                                                       HYDROCODONE.BIT. &
    8                        BG7543209   #4030 NA (205 WEST AVE,        9193      603388128      2/24/12                                  5            1,000       Par Pharmaceutical         N                   20,260                                                                x                    x                    x
                 PA                                                                                             ACETA 5MG & 500M
                                          TALLMADGE, OH, 44278)

                                         GIANT EAGLE PHARMACY
             WASHINGTON,                  #5878 NA (230 HOWE RD,                                               HYDROCODO.BIT/APAP
    9                        FG0138873                                  9193      406036005     12/29/12                                 7.5            500          SpecGx LLC               N                   16,930                                                                x                    x                    x
                 PA                       CUYAHOGA FALLS, OH,                                                   7.5MG/750MG USP T
                                                  44221)
                                         GIANT EAGLE PHARMACY
             WASHINGTON,                  #5878 NA (230 HOWE RD,                                               HYDROCODONE.BIT. &
   10                        FG0138873                                  9193      603388128      1/18/13                                  5            1,000       Par Pharmaceutical         N                   16,930                                                                x                    x                    x
                 PA                       CUYAHOGA FALLS, OH,                                                   ACETA 5MG & 500M
                                                  44221)




                                                                                                                                                                                                                                                                                            Exhibit B (Summit) - Page 6
                                                                                     Case:
                                                                        Narrative Response       1:17-md-02804-DAP
                                                                                           - Plaintiffs                                 Doc
                                                                                                        contend that the following orders, which#:
                                                                                                                                                were1964-102          Filed:Corporation
                                                                                                                                                     distributed by McKesson   07/23/19          29
                                                                                                                                                                                        constitute    of 38.
                                                                                                                                                                                                   Suspicious    PageID
                                                                                                                                                                                                              Orders            #: 166853
                                                                                                                                                                                                                     as defined under 21 C F R § 1301 74(b):

                                                                                                                                                                                                                                Total Base Code Dosage
                                                                                                                                                                                                                                  Units Distributed by
Suspicious                  Buyer DEA   Name, Address, and Store Number of                                                                                                                                                                                                                            Meets Common Sense   Meets Common Sense
              Distributor                                                    Base Code   NDC Code     Date of Order       Product Name      Dosage Strength Dosage Units         Labeler*         Due Diligence Performed Y/N   McKesson Corporation to     Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                    Number                   Buyer                                                                                                                                                                                                                                                 Method 2             Method 3
                                                                                                                                                                                                                                this location in month of
                                                                                                                                                                                                                                           order

                                           THE FRED W ALBRECHT
             NEW CASTLE,                   GROCERY CO DBA ACME                                                        OXYCODONE HCL 15MG
    1                       FT1696232                                          9143      228287811      7/29/14                                  15             600        Actavis Pharma, Inc.               N                          70,000                     x                    x                    x                    x                    x
                 PA                     PHARMACY #30 (4302 ALLEN RD                                                      TABLETS, 100 CT
                                         SUITE #110, STOW, OH, 44224)

                                         RITE AID OF OHIO, INC. RITE                                                      OXYCODONE
             NEW CASTLE,
    2                       AG2488496     AID #3182 (1047 KENMORE              9143      406052301      7/18/11       HCL/ACETAMINOPHEN          10            1,800          SpecGx LLC                      N                          32,100                     x                    x                    x                    x                    x
                 PA
                                        BOULEVARD, AKRON, OH, 44314)                                                       10MG/325

                                           THE FRED W ALBRECHT
                                                                                                                          OXYCODONE
             NEW CASTLE,                    GROCERY (DBA ACME
    3                       AY3510131                                          9143      406051205     12/17/14       HCL/ACETAMINOPHEN           5            3,000          SpecGx LLC                      N                          29,800                     x                    x                    x                    x                    x
                 PA                      PHARMACY #18, AKRON, OH,
                                                                                                                           5MG/325M
                                                  44314)

                                        GIANT EAGLE PHARMACY #4124                                                       HYDROCODONE
             NEW CASTLE,
    4                       AG2819540      (484 EAST WATERLOO RD,              9193      406035705      3/27/09       BIT/ACETAMINOPHEN           5            1,500          SpecGx LLC                      N                          25,700                     x                    x                    x                    x                    x
                 PA
                                               AKRON, OH, 44319)                                                            5MG/50

                                         RITE AID OF OHIO, INC. RITE                                                     OXYCODONE
             NEW CASTLE,
    5                       AG7960102   AID #3143 (1540 CANTON ROAD,           9143      406055262      3/31/11       HYDROCHLORIDE 5MG           5            1,200          SpecGx LLC                      N                          22,500                     x                    x                    x                    x                    x
                 PA
                                              AKRON, OH, 44312)                                                            TABS USP

                                        GIANT EAGLE PHARMACY #4036                                                       HYDROCODONE
             NEW CASTLE,
    6                       AG2819538   (2687 STATE ROAD, CUYAHOGA             9193      406035701      3/23/09       BIT/ACETAMINOPHEN           5            1,200          SpecGx LLC                      N                          20,380                     x                    x                    x                    x                    x
                 PA
                                               FALLS, OH, 44223)                                                            5MG/50

                                        GIANT EAGLE PHARMACY #4030                                                        OXYCODONE
             NEW CASTLE,
    7                       BG7543209    (205 WEST AVE, TALLMADGE,             9143      406051201     12/26/14       HCL/ACETAMINOPHEN           5            2,400          SpecGx LLC                      N                          18,900                     x                    x                    x                    x                    x
                 PA
                                                  OH, 44278)                                                               5MG/325M

                                         FRED W ALBRECHT GROCERY                                                         HYDROCODONE
             NEW CASTLE,
    8                       AF6536253   CO (DBA ACME PHARMACY #14,             9193      406036505      7/31/14       BIT/ACETA 5MG/325MG         5             500           SpecGx LLC                      N                          18,700                     x                    x                    x                    x                    x
                 PA
                                             AKRON, OH, 44319)                                                                USP

                                         RITE AID OF OHIO, INC. RITE                                                      OXYCODONE
             NEW CASTLE,
    9                       AG7960114   AID #3144 (2975 WEST MARKET            9143      406051201      5/31/07       HCL/ACETAMINOPHEN           5            1,200          SpecGx LLC                      N                          18,400                     x                    x                    x                    x                    x
                 PA
                                        STREET, FAIRLAWN, OH, 44333)                                                       5MG/325M

                                         MARCS CHAPEL HILL INC (470
             NEW CASTLE,                                                                                              HYDROCODONE.BIT. &
   10                       BM0509262    HOWE AVENUE, CUYAHOGA                 9193      603388128      2/27/12                                   5            2,500       Par Pharmaceutical                 N                          17,400                     x                    x                    x                    x                    x
                 PA                                                                                                    ACETA 5MG & 500M
                                              FALLS, OH, 44221)




                                                                                                                                                                                                                                                                                                             Exhibit B (Summit) - Page 7
                                                                               Case:
                                                               Narrative Response           1:17-md-02804-DAP
                                                                                  - Plaintiffs                                    Docwere
                                                                                               contend that the following orders, which #: distributed
                                                                                                                                            1964-102           Filed:Supply
                                                                                                                                                       by Prescription  07/23/19
                                                                                                                                                                            Inc constitute30  of 38.
                                                                                                                                                                                          Suspicious     PageID
                                                                                                                                                                                                     Orders             #: 166854
                                                                                                                                                                                                            as defined under 21 C F R § 1301 74(b):

                                                                                                                                                                                                                      Total Base Code Dosage
                                                                                                                                                                                                                        Units Distributed by
Suspicious                  Buyer DEA   Name, Address, and Store Number of                                                                                                                           Due Diligence                                                                          Meets Common Sense   Meets Common Sense
              Distributor                                                    Base Code    NDC Code     Date of Order        Product Name      Dosage Strength Dosage Units         Labeler*                          Prescription Supply Inc to   Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                    Number                   Buyer                                                                                                                                         Performed Y/N                                                                                 Method 2             Method 3
                                                                                                                                                                                                                      this location in month of
                                                                                                                                                                                                                                 order

                                        KARANT PHARMACY SERVICES
                                                                                                                           OXYCODONE
             NORTHWOOD,                 DBA: MEDICINE SHOPPE #1065
    1                       BK5109930                                          9143       406055401      4/9/09         HYDROCHLORIDE 5MG           5            1,200          SpecGx LLC                N                    2,000
                 OH                       (3300 GREENWICH ROAD,
                                                                                                                              CAPS
                                             NORTON, OH, 44203)
                                        KARANT PHARMACY SERVICES
             NORTHWOOD,                 DBA: MEDICINE SHOPPE #1065                                                     OXYCODONE HCL 15MG
    2                       BK5109930                                          9143       228287811      1/14/13                                   15             600        Actavis Pharma, Inc.         N                    2,000
                 OH                       (3300 GREENWICH ROAD,                                                           TABLETS, 100 CT
                                             NORTON, OH, 44203)
                                        KARANT PHARMACY SERVICES
             NORTHWOOD,                 DBA: MEDICINE SHOPPE #1065                                                     OXYCODONE HCL 15MG
    3                       BK5109930                                          9143       228287811      3/18/13                                   15             500        Actavis Pharma, Inc.         N                    1,600
                 OH                       (3300 GREENWICH ROAD,                                                           TABLETS, 100 CT
                                             NORTON, OH, 44203)
                                        KARANT PHARMACY SERVICES
             NORTHWOOD,                 DBA: MEDICINE SHOPPE #1065                                                     HYDROCODONE/ACETAMI                                        Amneal
    4                       BK5109930                                          9193      53746011105     2/2/09                                     5            1,000                                    N                    1,000
                 OH                       (3300 GREENWICH ROAD,                                                          NOPHEN 5MG/500MG                                    Pharmaceuticals LLC
                                             NORTON, OH, 44203)
                                        KARANT PHARMACY SERVICES
             NORTHWOOD,                 DBA: MEDICINE SHOPPE #1065                                                       HYDROCODONE BIT
    5                       BK5109930                                          9193       591034905      5/4/12                                     5            1,000       Actavis Pharma, Inc.         N                    1,000
                 OH                       (3300 GREENWICH ROAD,                                                        5MG/ACETAMINOPHEN 50
                                             NORTON, OH, 44203)
                                        KARANT PHARMACY SERVICES
             NORTHWOOD,                 DBA: MEDICINE SHOPPE #1065                                                     OXYCODONE HCL 30MG                                    Sun Pharmaceutical
    6                       BK5109930                                          9143      57664022488     5/17/13                                   30             500                                     N                    800
                 OH                       (3300 GREENWICH ROAD,                                                            TABLETS, USP                                        Industries, Inc.
                                             NORTON, OH, 44203)

                                        DISCOUNT DRUG MART (4044
             NORTHWOOD,                                                                                                OXYCODONE HCL 15MG
    7                       BD1270951    FISHCREEK RD, STOW, OH,               9143       228287811      2/3/12                                    15             400        Actavis Pharma, Inc.         N                    600
                 OH                                                                                                       TABLETS, 100 CT
                                                 44224)

                                        KARANT PHARMACY SERVICES
             NORTHWOOD,                 DBA: MEDICINE SHOPPE #1065                                                       ENDOCET OXYCODO
    8                       BK5109930                                          9143      60951060270    11/12/12                                    5             500        Par Pharmaceutical           N                    500
                 OH                       (3300 GREENWICH ROAD,                                                           HCL5MG&AC TAB
                                             NORTON, OH, 44203)
                                        KARANT PHARMACY SERVICES
             NORTHWOOD,                 DBA: MEDICINE SHOPPE #1065                                                      OXYCODONE HCL 5MG
    9                       BK5109930                                          9143      10702001801     12/4/14                                    5             500          KVK-Tech, Inc.             N                    500
                 OH                       (3300 GREENWICH ROAD,                                                            USP TABLETS
                                             NORTON, OH, 44203)
                                        KARANT PHARMACY SERVICES
                                                                                                                           OXYCODONE
             NORTHWOOD,                 DBA: MEDICINE SHOPPE #1065
   10                       BK5109930                                          9143       406853001      1/8/10        HYDROCHLORIDE 30MG          30             400           SpecGx LLC                N                    400
                 OH                       (3300 GREENWICH ROAD,
                                                                                                                             TABLET
                                             NORTON, OH, 44203)




                                                                                                                                                                                                                                                                                                        Exhibit B (Summit) - Page 8
                                                                                Case:- Plaintiffs
                                                                     Narrative Response 1:17-md-02804-DAP                     Docwhich
                                                                                                  contend that the following orders, #: 1964-102         Filed:
                                                                                                                                        were distributed by Rite Aid 07/23/19         31 Orders
                                                                                                                                                                     constitute Suspicious of 38.   PageID
                                                                                                                                                                                                as defined        #:C166855
                                                                                                                                                                                                           under 21  F R § 1301 74(b):


                                                                                                                                                                                                          Total Base Code Dosage
Suspicious                  Buyer DEA     Name, Address, and Store                                                                                                                        Due Diligence   Units Distributed by Rite                                             Meets Common Sense   Meets Common Sense
              Distributor                                            Base Code    NDC Code     Date of Order       Product Name      Dosage Strength Dosage Units        Labeler*                                                     Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                    Number          Number of Buyer                                                                                                                             Performed Y/N     Aid to this location in                                                    Method 2             Method 3
                                                                                                                                                                                                              month of order


                                         RITE AID OF OHIO, INC.
                                                                                                                  HYDROCODONE
             ABERDEEN,                   RITE AID #3151 (325 EAST
    1                       AM1573612                                  9193       406035705      5/28/09       BIT/ACETAMINOPHEN           5            5,000         SpecGx LLC               N                   32,300                     x                    x                    x                    x                    x
                MD                      WATERLOO ROAD, AKRON,
                                                                                                                     5MG/50
                                                OH, 44319)
                                         RITE AID OF OHIO, INC.
                                                                                                                  HYDROCODONE
             ABERDEEN,                   RITE AID #3151 (325 EAST
    2                       AM1573612                                  9193       406035705      8/29/09       BIT/ACETAMINOPHEN           5            4,500         SpecGx LLC               N                   30,600                     x                    x                    x                    x                    x
                MD                      WATERLOO ROAD, AKRON,
                                                                                                                     5MG/50
                                                OH, 44319)
                                         RITE AID OF OHIO, INC.
                                                                                                                  HYDROCODONE
             ABERDEEN,                    RITE AID #3143 (1540
    3                       AG7960102                                  9193       406035705      4/30/08       BIT/ACETAMINOPHEN           5            2,500         SpecGx LLC               N                   18,400                     x                                         x                    x                    x
                MD                       CANTON ROAD, AKRON,
                                                                                                                     5MG/50
                                               OH, 44312)
                                         RITE AID OF OHIO, INC.
             ABERDEEN,                    RITE AID #3182 (1047                                                 HYDROCODONE.BIT. &
    4                       AG2488496                                  9193       603388128      8/29/12                                   5            2,000       Par Pharmaceutical         N                   17,630                     x                                         x                    x                    x
                MD                       KENMORE BOULEVARD,                                                     ACETA 5MG & 500M
                                           AKRON, OH, 44314)
                                         RITE AID OF OHIO, INC.
                                                                                                                  HYDROCODONE
             ABERDEEN,                    RITE AID #3143 (1540
    5                       AG7960102                                  9193       406035705     12/22/08       BIT/ACETAMINOPHEN           5            3,500         SpecGx LLC               N                   17,600                     x                                         x                    x                    x
                MD                       CANTON ROAD, AKRON,
                                                                                                                     5MG/50
                                               OH, 44312)
                                         RITE AID OF OHIO, INC
                                                                                                                  HYDROCODONE
             ABERDEEN,                    (T/A RITE AID DISCNT
    6                       BR1243219                                  9193       406035705      1/23/07       BIT/ACETAMINOPHEN           5            2,500         SpecGx LLC               N                   17,300                     x                                         x                    x                    x
                MD                       PHCY 1924, AKRON, OH,
                                                                                                                     5MG/50
                                                  44311)
                                         RITE AID OF OHIO, INC.
                                                                                                                  HYDROCODONE
             ABERDEEN,                    RITE AID #4296 (1403
    7                       BR5010258                                  9193       406036505      6/30/14       BIT/ACETA 5MG/325MG         5            4,500         SpecGx LLC               N                   17,300                     x                                         x                    x                    x
                MD                       WOOSTER ROAD WEST,
                                                                                                                       USP
                                         BARBERTON, OH, 44203)
                                         RITE AID OF OHIO, INC.
                                                                                                                  HYDROCODONE
             ABERDEEN,                    RITE AID #3182 (1047
    8                       AG2488496                                  9193       406035705     10/29/08       BIT/ACETAMINOPHEN           5            2,500         SpecGx LLC               N                   17,200                     x                                         x                    x                    x
                MD                       KENMORE BOULEVARD,
                                                                                                                     5MG/50
                                           AKRON, OH, 44314)
                                         RITE AID OF OHIO, INC.
             ABERDEEN,                    RITE AID #4296 (1403                                                 HYDROCODONE.BIT. &
    9                       BR5010258                                  9193       603388128     12/26/12                                   5            2,500       Par Pharmaceutical         N                   17,100                     x                                         x                    x                    x
                MD                       WOOSTER ROAD WEST,                                                     ACETA 5MG & 500M
                                         BARBERTON, OH, 44203)
                                         RITE AID OF OHIO, INC.
                                                                                                                  HYDROCODONE
             ABERDEEN,                     RITE AID #2456 (4053
   10                       BR2011067                                  9193       406035705     12/22/08       BIT/ACETAMINOPHEN           5            3,000         SpecGx LLC               N                   16,900                     x                                         x                    x                    x
                MD                        SOUTH MAIN STREET,
                                                                                                                     5MG/50
                                            AKRON, OH, 44319)




                                                                                                                                                                                                                                                                                             Exhibit B (Summit) - Page 9
                                                                        Narrative Case:
                                                                                  Response -1:17-md-02804-DAP
                                                                                            Plaintiffs contend that the followingDoc
                                                                                                                                 orders, #: 1964-102
                                                                                                                                         which were distributedFiled:   07/23/19
                                                                                                                                                                by Wal-Mart              32 ofOrders
                                                                                                                                                                            constitute Suspicious 38. asPageID      #:21166856
                                                                                                                                                                                                         defined under   C F R § 1301 74(b):


                                                                                                                                                                                                                 Total Base Code Dosage
Suspicious                     Buyer DEA     Name, Address, and Store                                                                                                                            Due Diligence   Units Distributed by Wal-                                             Meets Common Sense   Meets Common Sense
                 Distributor                                               Base Code    NDC Code     Date of Order        Product Name      Dosage Strength Dosage Units        Labeler*                                                     Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                       Number          Number of Buyer                                                                                                                                 Performed Y/N     Mart to this location in                                                   Method 2             Method 3
                                                                                                                                                                                                                      month of order


                                           WAL-MART PHARMACY 10-
                                                                                                                         HYDROCODONE
              WILLIAMSPORT,                     1911 NA (2887 S.
    1                          BW5397410                                     9193       406035701      8/19/13        BIT/ACETAMINOPHEN           5             600          SpecGx LLC               N                   20,400                                                               x                    x                    x
                   MD                      ARLINGTON ST, AKRON (S),
                                                                                                                            5MG/50
                                                  OH, 44312)
                                           WAL-MART PHARMACY 10-
                                                                                                                         HYDROCODONE
              WILLIAMSPORT,                     1911 NA (2887 S.
    2                          BW5397410                                     9193       406035705     12/30/08        BIT/ACETAMINOPHEN           5            3,500         SpecGx LLC               N                   14,400                                                               x                    x                    x
                   MD                      ARLINGTON ST, AKRON (S),
                                                                                                                            5MG/50
                                                  OH, 44312)

                                           WAL-MART PHARMACY 10-                                                         HYDROCODONE
              WILLIAMSPORT,
    3                          BW6660117     2323 NA (3520 HUDSON            9193       406035705      7/31/09        BIT/ACETAMINOPHEN           5             500          SpecGx LLC               N                   12,400                                                               x                    x                    x
                   MD
                                            DRIVE, STOW, OH, 44224)                                                         5MG/50

                                           WAL-MART PHARMACY 10-
              WILLIAMSPORT,                                                                                          HYDROCODO.BIT/APAP
    4                          BW6660117     2323 NA (3520 HUDSON            9193       406036001      8/23/13                                   7.5            700          SpecGx LLC               N                   12,400                                                               x                    x                    x
                   MD                                                                                                 7.5MG/750MG USP T
                                            DRIVE, STOW, OH, 44224)

                                           WAL-MART PHARMACY 10-                                                         HYDROCODONE
              WILLIAMSPORT,
    5                          BW6660117     2323 NA (3520 HUDSON            9193       406035705      4/30/09        BIT/ACETAMINOPHEN           5            1,000         SpecGx LLC               N                   10,700                                                               x                    x                    x
                   MD
                                            DRIVE, STOW, OH, 44224)                                                         5MG/50

                                           WAL-MART PHARMACY 10-
              WILLIAMSPORT,                  1895 NA (3750-I WEST                                                    HYDROCODO.BIT/APAP
    6                          BW5397408                                     9193       406036001      8/20/13                                   7.5            500          SpecGx LLC               N                   9,300                                                                x                    x                    x
                   MD                       MARKET ST, FAIRLAWN,                                                      7.5MG/750MG USP T
                                                  OH, 44333)
                                           WAL-MART PHARMACY 10-
                                                                                                                         HYDROCODONE
             CRAWFORDSVILLE,               1927 NA (8160 MACEDONIA
    7                          BW5397434                                     9193       406035705      6/30/08        BIT/ACETAMINOPHEN           5             500          SpecGx LLC               N                   7,800                                                                x                    x
                   IN                           COMMONS BLVD,
                                                                                                                            5MG/50
                                            MACEDONIA, OH, 44056)
                                           WAL-MART PHARMACY 10-
             CRAWFORDSVILLE,               1927 NA (8160 MACEDONIA                                                   HYDROCODONE.BIT./ACE
    8                          BW5397434                                     9193       603388728     12/21/11                                   10             500        Par Pharmaceutical         N                   7,300                                                                x                    x
                   IN                           COMMONS BLVD,                                                           T.,10MG & 325MG/
                                            MACEDONIA, OH, 44056)
                                           WAL-MART PHARMACY 10-
                                                                                                                         HYDROCODONE
              WILLIAMSPORT,                  1895 NA (3750-I WEST
    9                          BW5397408                                     9193       406035705      3/31/11        BIT/ACETAMINOPHEN           5             500          SpecGx LLC               N                   6,500                                                                x                    x
                   MD                       MARKET ST, FAIRLAWN,
                                                                                                                            5MG/50
                                                  OH, 44333)
                                           SAM'S PHARMACY 10-4750
              WILLIAMSPORT,                 NA (1189 BUCHHOLZER                                                      HYDROCODO.BIT/APAP
   10                          BS7669623                                     9193       406036001      7/28/11                                   7.5            500          SpecGx LLC               N                   4,400                                                                x                    x
                   MD                      BLVD, CUYAHOGA FALLS,                                                      7.5MG/750MG USP T
                                                  OH, 44221)




                                                                                                                                                                                                                                                                                             Exh bit B (Summit) - Page 10
                                                                                 Case:
                                                                     Narrative Response     1:17-md-02804-DAP
                                                                                        - Plaintiffs                             Docwhich
                                                                                                     contend that the following orders, #: 1964-102         Filed:
                                                                                                                                           were distributed by Walgreen07/23/19        33 of 38.
                                                                                                                                                                        Co constitute Suspicious OrdersPageID       #: 166857
                                                                                                                                                                                                        as defined under 21 C F R § 1301 74(b):


                                                                                                                                                                                                                Total Base Code Dosage
Suspicious                  Buyer DEA     Name, Address, and Store                                                                                                                             Due Diligence      Units Distributed by                                                Meets Common Sense   Meets Common Sense
              Distributor                                              Base Code    NDC Code     Date of Order        Product Name      Dosage Strength Dosage Units         Labeler*                                                       Meets 2 Times Rule   Meets 3 Times Rule                                             McKesson 8000 Rule
Order No.                    Number          Number of Buyer                                                                                                                                  Performed Y/N       Walgreen Co to this                                                       Method 2             Method 3
                                                                                                                                                                                                               location in month of order


                                          WALGREEN CO. DBA:
             PERRYSBURG                 WALGREENS # 03572 (2645                                                    HYDROCODONE BIT
    1                       BW4550287                                    9193       591034905      6/30/09                                    5            4,500       Actavis Pharma, Inc.         N                   35,620                      x                                         x                    x                    x
                 , OH                    STATE RD, CUYAHOGA                                                      5MG/ACETAMINOPHEN 50
                                           FALLS, OH, 44223)
                                           WALGREEN CO. DBA:
                                                                                                                      OXYCODONE
             PERRYSBURG                 WALGREENS # 03281 (1130
    2                       BW4139540                                    9143       591074905      5/30/12          HYDROCHLORIDE             5            3,000       Actavis Pharma, Inc.         N                   33,600                      x                    x                    x                    x                    x
                 , OH                   S. ARLINGTON ST, AKRON,
                                                                                                                     5MG&ACETAMIN
                                                OH, 44306)
                                          WALGREEN CO. DBA:
             PERRYSBURG                 WALGREENS # 03572 (2645                                                    HYDROCODONE BIT
    3                       BW4550287                                    9193       591034905      5/29/09                                    5            3,000       Actavis Pharma, Inc.         N                   33,340                      x                                         x                    x                    x
                 , OH                    STATE RD, CUYAHOGA                                                      5MG/ACETAMINOPHEN 50
                                           FALLS, OH, 44223)
                                           WALGREEN CO. DBA:
                                                                                                                      OXYCODONE
             PERRYSBURG                 WALGREENS # 03281 (1130
    4                       BW4139540                                    9143       591074905      8/23/12          HYDROCHLORIDE             5            2,000       Actavis Pharma, Inc.         N                   33,000                      x                    x                    x                    x                    x
                 , OH                   S. ARLINGTON ST, AKRON,
                                                                                                                     5MG&ACETAMIN
                                                OH, 44306)
                                         WALGREEN CO. DBA:
             PERRYSBURG                 WALGREENS #11143 (3009                                                   OXYCODONE.HCL/APAP
    5                       FW0581480                                    9143       591093201     11/28/11                                   10            2,500       Actavis Pharma, Inc.         N                   29,700                      x                    x                    x                    x                    x
                 , OH                       W. MARKET ST.,                                                         10MG/325MG TABS
                                         FAIRLAWN, OH, 44333)
                                         WALGREEN CO. DBA:
                                                                                                                      OXYCODONE
             PERRYSBURG                 WALGREENS # 04776 (900
    6                       BW6026668                                    9143       591074905     12/30/09          HYDROCHLORIDE             5            2,500       Actavis Pharma, Inc.         N                   29,100                      x                    x                    x                    x                    x
                 , OH                    WOOSTER RD NORTH,
                                                                                                                     5MG&ACETAMIN
                                        BARBERTON, OH, 44203)
                                         WALGREEN CO. DBA:
                                                                                                                      OXYCODONE
             PERRYSBURG                 WALGREENS #11143 (3009
    7                       FW0581480                                    9143       591074905      3/31/11          HYDROCHLORIDE             5            2,500       Actavis Pharma, Inc.         N                   27,800                      x                                         x                    x                    x
                 , OH                       W. MARKET ST.,
                                                                                                                     5MG&ACETAMIN
                                         FAIRLAWN, OH, 44333)
                                          WALGREEN CO. DBA:
                                                                                                                      OXYCODONE
             PERRYSBURG                 WALGREENS # 03279 (1303
    8                       BW4129892                                    9143       591074905      1/26/11          HYDROCHLORIDE             5            3,000       Actavis Pharma, Inc.         N                   27,700                      x                    x                    x                    x                    x
                 , OH                    COPLEY ROAD, AKRON,
                                                                                                                     5MG&ACETAMIN
                                              OH, 44320)
                                          WALGREEN CO. DBA:
                                                                                                                      OXYCODONE
             PERRYSBURG                 WALGREENS # 03279 (1303
    9                       BW4129892                                    9143       591074905     12/21/12          HYDROCHLORIDE             5           10,000       Actavis Pharma, Inc.         N                   27,100                      x                    x                    x                    x                    x
                 , OH                    COPLEY ROAD, AKRON,
                                                                                                                     5MG&ACETAMIN
                                              OH, 44320)
                                         WALGREEN CO. DBA:
                                                                                                                      OXYCODONE
             PERRYSBURG                 WALGREENS # 04776 (900
   10                       BW6026668                                    9143       591074905     11/16/09          HYDROCHLORIDE             5            2,500       Actavis Pharma, Inc.         N                   26,400                      x                    x                    x                    x                    x
                 , OH                    WOOSTER RD NORTH,
                                                                                                                     5MG&ACETAMIN
                                        BARBERTON, OH, 44203)




                                                                                                                                                                                                                                                                                             Exh bit B (Summit) - Page 11
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       I.      Henry Schein
    Background
            Henry Schein, Inc., (“Henry Schein”) like the other Distributor Defendants in this case, is
    a registered wholesale distributor of controlled substances. However, unlike the other Distributor
    Defendants, Henry Schein is unique in that it is the “largest distributor of healthcare products and
    services to office-based practitioners in the combined North American and European markets”
    whose customers include “dental practices . . . physician practices, and animal health clinics.”1
           In 2015, Henry Schein reported that its sales reached a record $10.4 billion and that it had
    grown at a compound annual rate of approximately 16 percent since becoming a public company
    in 1995. Overall, it is the world’s largest provider of health care products and services to office-
    based dental, animal health, and medical practitioners.
       II.     Orders Plaintiff Summit County Contends Were Suspicious:
        Plaintiff Summit County identifies the following 14 orders that Henry Schein shipped to Dr.
    Brian Heim (“Heim”) as orders that Henry Schein knew or should have known were Suspicious
    Orders:
                                                                             NAME     LOCATION
                                                                               OF          OF
                                                                            PERSON     PERSON
                                             MANUFAC-                       SHIPPED SHIPPED
        DATE         MEDICATION                TURER            AMOUNT         TO          TO
1     8/17/2011     Hydrocodone/            Unknown             1 bottle – Dr. Brian 3562 Ridge
                    Apap Tablets                                500 tablets Heim      Park Drive,
                                                                                      Ste. A,
                                                                                      Akron, OH
2     9/19/2011     Hydrocodone/            Unknown             1 bottle – Dr. Brian 3562 Ridge
                    Apap Tablets                                500 tablets Heim      Park Drive,
                                                                                      Ste. A,
                                                                                      Akron, OH
3     10/10/2011 Hydrocodone/               Unknown             1 bottle - Dr. Brian 3562 Ridge
                 Apap Tablets                                   500 tablets Heim      Park Drive,
                                                                                      Ste. A,
                                                                                      Akron, OH
4     10/24/2011 Hydrocodone/               Unknown             1 bottle – Dr. Brian 3562 Ridge
                 Apap Tablets                                   500 tablets Heim      Park Drive,
                                                                                      Ste. A,
                                                                                      Akron, OH
5     11/11/2011 Hydrocodone/               Unknown             2 bottles - Dr. Brian 3562 Ridge
                 Apap Tablets                                   1000        Heim      Park Drive,
                                                                tablets               Ste. A,
                                                                                      Akron, OH
6     12/05/2011 Hydrocodone/               Unknown             2 bottles – Dr. Brian 3562 Ridge
                 Apap Tablets                                   1000        Heim      Park Drive,
                                                                tablets

    1 See, HSI-MDL-00040712.




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                                                                             NAME     LOCATION
                                                                               OF          OF
                                                                            PERSON     PERSON
                                              MANUFAC-                      SHIPPED SHIPPED
         DATE          MEDICATION              TURER            AMOUNT         TO          TO
                                                                                      Ste. A,
                                                                                      Akron, OH
7     01/10/2012 Hydrocodone/               Unknown             2 bottles – Dr. Brian 3562 Ridge
                 Apap Tablets                                   1000        Heim      Park Drive,
                                                                tablets               Ste. A,
                                                                                      Akron, OH
8     02/06/2012 Hydrocodone/               Unknown             2 bottles – Dr. Brian 3562 Ridge
                 Apap Tablets                                   1000        Heim      Park Drive,
                                                                tablets               Ste. A,
                                                                                      Akron, OH
9     02/29/2012 Hydrocodone/               Unknown             2 bottles – Dr. Brian 3562 Ridge
                 Apap Tablets                                   1000        Heim      Park Drive,
                                                                tablets               Ste. A,
                                                                                      Akron, OH
10 02/29/2012 Hydrocodone/                  Unknown             2 bottles – Dr. Brian 3562 Ridge
              Apap Tablets                                      1000        Heim      Park Drive,
                                                                tablets               Ste. A,
                                                                                      Akron, OH
11 03/14/2012 Hydrocodone                   Unknown             1 bottle – Dr. Brian 3562 Ridge
              w/Apap Tablet                                     500 tablets Heim      Park Drive,
                                                                                      Ste. A,
                                                                                      Akron, OH
12 04/24/2012 Hydrocodone                   Unknown             2 bottles – Dr. Brian 3562 Ridge
              w/Apap Tablet                                     1000        Heim      Park Drive,
                                                                tablets               Ste. A,
                                                                                      Akron, OH
13 05/21/2012 Hydrocodone                   Unknown             2 bottles – Dr. Brian 3562 Ridge
              w/Apap Tablet                                     1000        Heim      Park Drive,
                                                                tablets               Ste. A,
                                                                                      Akron, OH
14 06/05/2012 Hydrocodone                   Unknown             2 bottles – Dr. Brian 3562 Ridge
              w/Apap Tablet                                     1000        Heim      Park Drive,
                                                                tablets               Ste. A,
                                                                                      Akron, OH
       III.      Criteria Plaintiff Used to Identify the Above Orders As Suspicious
              A. Henry Schein had a Duty to Identify When an Order is Likely to Be Diverted by
                 Performing the Due Diligence Required of all Distributors.
            The Controlled Substances Act (“CSA”) and its implementing regulations, as well as Ohio
    common law require distributors of controlled substances to register with the Drug Enforcement
    Administration (“DEA”). As registrants, distributors play a vital role in preventing diversion and
    therefore have a duty to perform due diligence prior to their distribution of controlled substances.



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 For example, pursuant to the CSA, distributors have a duty to report suspicious orders of controlled
 substances. An order is suspicious when it is likely to be diverted or has the potential for diversion
 from legitimate channels. Title 21 CFR 1301.74(b), specifically requires that a registrant “design
 and operate a system to disclose to the registrant suspicious orders of controlled substances.”
 Registrants must conduct an independent analysis of suspicious orders prior to completing a sale
 to determine whether the controlled substances are likely to be diverted from legitimate channels.
 Moreover, “[r]egistrants that fill these orders (potential suspicious orders), without first
 determining that the order is not being diverted into other than legitimate medical, scientific, and
 industrial channels, may be failing to maintain effective controls against diversion. Failure to
 maintain effective controls against diversion is inconsistent with the public interest as that term is
 used in 21 USC 823 and 824, and may result in the revocation of the registrant’s DEA Certificate
 or Registration.”2
         In order to prevent diversion, distributors must have specific due diligence requirements
 and must “Know Their Customer” prior to shipping controlled substances to a particular client. In
 April 2011, the DEA further outlined the “Know Your Customer” requirements for distributors by
 expressly outlining the kinds of questions a distributor should ask customers seeking to purchase
 controlled substances.3 For practitioner customers – which make up the majority of Henry
 Schein’s customer base – the DEA specifically identified the following questions:
         • What is the practitioner’s specialty, if any (family practice, oncology, geriatrics, pain
         management, etc.)?
         • Do the controlled substances being ordered correspond to his specialty or the treatment
         he provides?
         • What method of payment does the practitioner accept (cash, insurance, Medicare) and
         what is the ratio of each?
         • Has the practitioner ever been disciplined by any state or federal authority?
         • How many patients does the practitioner see each day? What is his weekly average?
         • Does the practitioner prescribe as well as dispense?
         • Why does the practitioner prefer to dispense as opposed to prescribe?
         • Who was the practitioner’s previous supplier? Are they still ordering from this supplier?
         If not, why are they looking for a new supplier?
         • Do the hours of operation and the facility accommodate the type of practice being
         conducted?
         • Does the practitioner’s office have security guards on-site? If so, why?
         • Are all applicable state, federal, local licenses current and are they issued for the
         registered address at which the practitioner is practicing?
         • Does the practitioner see out of state patients? If so,
              o From what states,
              o How many,

 2 Id.
 3 DEA, “Suggested Questions a Distributor should ask prior to shipping controlled substances,” available at

 https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf (April 2011).



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             o Approximate ratio of out of state compared to local, and
             o Why, specifically, they travel so far to see him?
         • Can the practitioner provide a blank copy of an agreement which they enter into with a
         patient, specifying the course of treatment, the patient rights and responsibilities, and
         reasons for termination of treatment?
         • Does the practitioner conduct random unannounced drug testing?
         • What measures does the practitioner employ and/or monitor to prevent addiction and
         diversion of controlled substances?
         • Are there more than one practitioner dispensing controlled substances from the registered
         location?
         • Do you order for just yourself or for the whole clinic?
         • What controlled substances are you currently dispensing? (If only one or two controlled
         substances are being ordered, have the practitioner fully explain why he administers or
         dispenses only these specific controlled substances).
         • In what dosage levels is the practitioner dispensing (2 tablets, 4 times a day, for 30 days,
         or 90, 120, 240 a week, month).
         • Does the practitioner prescribe as well as dispense to his patients?
         • Does the practitioner prescribe the same controlled substances as were dispensed to the
         patient?
         • How many patients is the practitioner presently treating (day, week, and month)?
         B. Henry Schein Failed to Exercise Due Diligence in its Evaluation of Dr. Brian Heim as
            a Customer.
        Notwithstanding its obligations and the DEA’s express guidance, Henry Schein failed to
 exercise sufficient due diligence before shipping the orders noted above. To the contrary,
 documents produced by Henry Schein show that, prior to shipping controlled substances to Heim,
 Henry Schein merely confirmed that Heim’s licensure was in active status and sent Heim a one-
 page questionnaire on August 17, 2011.4


 C. Heim’s Orders Were So Suspicious that Henry Schein Knew or Should Have Known that they
 were being Diverted
         Had Henry Schein performed any of the due diligence it was required to perform by law,
 it would have readily identified orders placed by Brian Heim as being suspicious. For example,
 Henry Schein never made any inquiry about Heim’s prior criminal charges or disciplinary actions.
 Yet, a simple verification of Heim’s Ohio medical license would have shown that in 1998, Heim
 entered a guilty plea to twenty-four felony counts of theft of drugs and twenty-one felony counts
 of illegal processing of drug documents.5 As a result, Heim’s medical license was revoked. He



 4 See, HSI-MDL-00001198-1210. On August 23, 2012 – after it had already been providing Brian Heim with
 controlled substances for nearly a year – Henry Schein sent Brian Heim an additional two-page questionnaire.
 5 Such a verification can be easily performed through https://elicense.ohio.gov/oh_verifylicense.




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 was offered treatment in lieu of conviction. Heim’s medical license was not reinstated until later
 with restrictions, and he was placed on probation until January of 2005.
         On May 18, 2012, Heim was indicted in the Court of Common Pleas, County of Summit,
 Ohio, for seven counts of aggravated trafficking in drugs and one count of tampering with
 evidence. He was arraigned on those charges on June 6, 2012.6 Significantly, Henry Schein
 actually shipped controlled substances to Heim on at least two occasions after he had been indicted
 in Ohio state court with trafficking in drugs and tampering with evidence.7
         In addition to failing to ask about Heim’s prior disciplinary and criminal record, Henry
 Schein also failed to ask other fundamental questions that would have alerted Henry Schein to the
 likelihood of diversion. For example, Henry Schein did not ask Heim about the percentage of
 controlled substances that Dr. Heim’s patients purchased with cash versus other methods (although
 it did ask the question in general). The red flags relating to Heim’s purchase of controlled
 substances were so clear that, in as early as 2008, a patient calling Purdue Pharma referenced
 Heim’s suspicious practices and noted his prior disciplinary record.8 From January 2010 through
 December 2011, Heim was actually listed as the 11th top prescriber of Oxycodone/APAP in the
 W103 – Akron, OH Territory.9 Despite this, Henry Schein’s due diligence file for Brian Heim
 does not reflect a single site visit to Heim’s office.
         Finally, filings in the action to recover civil penalties from Heim for his violations of
 federal drug laws note that the volume of Heim’s purchases was so suspicious that in July 2012, a
 DEA Diversion Investigator reviewing ARCOS data noted that Heim was “purchasing
 extraordinarily large amounts of hydrocodone/APAP tablets from the pharmaceutical wholesaler
 Henry Schein” and obtained an administrative warrant to inspect Heim’s records because of this.10
        Yet, even though Henry Schein suspended Heim’s orders on two occasions, it never
 reported any of Heim’s orders as suspicious to the DEA. In fact, even on the two occasions when
 Henry Schein held an order placed by Heim, Schein’s records indicate that it nevertheless shipped
 an order to Heim on the following day.
         In sum, given Heim’s past criminal and disciplinary history, his reputation in the
 community, his current criminal charges, and his excessive orders of controlled substances, the
 orders referenced above were so suspicious that there was no amount of due diligence that Henry
 Schein could have performed so as to remove every basis of suspicion that Heim was engaged in
 diversion.    The above is a clear example of Henry Schein’s failure in due diligence for
 “onboarding” new customers.




 6 See, United States v. Brian D. Heim, M.D., Case No 5:13-cv-210, Memorandum Opinion and Order of January 22,

 2014 (District Judge Sara Lioi), at 4 (“Judge Lioi Order”); also see, May 8, 2013 Letter with Attachments to Dr. Brian
 Heim from the State Medical Board of Ohio, at Exhibit 1.
 7 See, Order No. 13 (05/21/2012) and Order No. 14 (06/05/2012) identified above.
 8 See, PPLPMDL0030005508 (April 17, 2008 email from Purdue’s Nancy Crudele, Senior Manager of Medical

 Services, to Purdue’s Joan Zooper, Corporate Counsel, summarizing a patient call regarding Dr. Brian Heim).
 9 See, ACTAVIS0925276.
 10 See, Judge Lioi Order, at 5.




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